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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                                               :
                                               :       CRIMINAL NO. 22-cr-200
                v.                             :
                                               :
PETER K. NAVARRO,                              :
                                               :
                        Defendant.             :

                     UNITED STATES’ OMNIBUS MOTION IN LIMINE

         The jury in Defendant Peter K. Navarro’s trial will be charged with deciding one thing:

whether the Defendant knew he had been subpoenaed by the Select Committee to Investigate the

January 6th Attack on the United States Capitol (“the Committee”) to produce documents and

appear for a deposition, and nonetheless made a deliberate decision not to do either. Throughout

the pre-trial stage of this case, however, the Defendant has sought to overcomplicate the issues,

advance defenses that he has waived or that are unavailable to him under the facts or the law, and

levy unsupported allegations of Government misconduct. These claims lack merit, and they are

not matters to be considered by the jury. The Court should exclude evidence and argument

regarding all of them at trial.

    I.      Unavailable Defenses and Irrelevant Evidence and Argument Have No Place At
            Trial

         “To the extent practicable, the court must conduct a jury trial so that inadmissible evidence

is not suggested to the jury by any means.” Fed. R. Evid. 103(d); see also United States v. Young,

470 U.S. 1, 10 (1985) (“[T]he trial judge has the responsibility to maintain decorum in keeping

with the nature of the proceeding; the judge is not a mere moderator, but is the governor of the

trial for the purpose of assuring its proper conduct.”) (internal quotation omitted)). In service of
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this responsibility, the Court has broad discretion to determine whether evidence or argument can

properly be presented at trial. See United States v. Morgan, 581 F.2d 933, 936 (D.C. Cir. 1978)

(“The district court has wide discretion to admit or exclude evidence where the question is one of

relevancy or materiality”); United States v. Tarantino, 846 F.2d 1384, 1410 (D.C. Cir. 1988)

(finding it was within trial court’s discretion to exclude testimony sought only to impeach

witness’s credibility). This includes excluding evidence or argument whose only purpose is to

encourage the jury to nullify. See United States v. Gorham, 523 F.2d 1088, 1097-98 (D.C. Cir.

1975) (affirming exclusion of evidence relevant only to jury nullification) (citing Sparf v. United

States, 156 U.S. 51, 106 (1895)); United States v. Boone, 458 F.3d 321, 329 (3d Cir. 2006) (“[A]

juror . . . who commits jury nullification violates the sworn jury oath and prevents the jury from

fulfilling its constitutional role.”).

          Motions in limine assist the Court in serving its gate-keeping function to keep incompetent

evidence or improper argument from the jury by permitting the Court to exclude such things in

advance of trial. United States v. Zeese, 437 F. Supp. 3d 86, 92 (D.D.C. 2020) (quoting United

States v. Jackson, 627 F.2d 1198, 1209 (D.C. Cir. 1980) (“Pretrial motions in limine effectuate

[Rule 103(d)’s] directive” that inadmissible evidence not be suggested to the jury by any means,

and a “‘pre-trial ruling, if possible, may generally be the better practice, for it permits counsel to

make the necessary strategic determinations.’”)). Here, the Court has a sufficient basis to rule in

advance of trial to exclude improper evidence and argument so that it is not suggested to the jury

in any way.

    II.      The Defendant Cannot Present Evidence or Argument in Support of Invalid or
             Waived Defenses

          Before the Court to date, the Defendant has advanced multiple potential legal and trial

defenses, including that executive privilege excused his total non-compliance with the


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Committee’s subpoena, ECF No. 31 at 4-8; that he was entrapped or authorized in his violation of

the law, ECF No. 36; and that the Committee that issued him the subpoena was improperly

constituted, ECF No. 34 at 17-27. Neither the law nor the facts of this case support any of the

Defendant’s claims of these defenses, and the Court should not permit him to present evidence or

make argument to the jury in support of them.

           a. The Defendant’s Reliance on an Alleged Executive Privilege Assertion is Not
              a Valid Trial Defense.

       As set forth in the Government’s opposition to the Defendant’s motion to dismiss, the

Defendant is wrong when he claims that there was an invocation of executive privilege that

excused his noncompliance with the subpoena. See ECF No. 44 at 5-12. Indeed, as the Court has

noted, no President—sitting or former—invoked executive privilege with respect to the subpoena

that the Committee issued to the Defendant, or directed the Defendant not to appear for a

deposition or provide documents. See Order, ECF No. 55 at 5 (“Defendant . . . received no written

or oral direction from the former President to invoke any privileges or immunities with respect to

the Select Committee subpoena.”). Thus, regardless of whether the Defendant’s claimed reliance

on executive privilege in the face of the subpoena was a mistake of law or a pretext for a strategic

effort to evade the requirements of the subpoena, it does not matter: erroneous reliance on

executive privilege, and by extension testimonial immunity, is not a defense to contempt of

Congress, and the Defendant should not be permitted to present evidence or argument in support

of such a claim.

       At trial, with respect to the Defendant’s state of mind for the charged conduct, the

Government must prove that his default on the subpoena was willful. 2 U.S.C. § 192. Contrary

to the Defendant’s claim in a filed notice that “‘willfully’ requires specific intent,” ECF No. 36 at

1, binding precedent makes clear that in the contempt of Congress statute, willful means a


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deliberate and intentional failure to appear or produce records. Licavoli v. United States, 294 F.2d

207, 208 (D.C. Cir. 1961) (“[H]e who deliberately and intentionally fails to respond to a subpoena

‘willfully makes default.’”) (citing United States v. Bryan, 339 U.S. 323 (1950); United States v.

Fleischman, 339 U.S. 349 (1950)); see also Bryan, 339 U.S. at 330. (“[W]hen the Government

introduced evidence in this case that respondent had been validly served with a lawful subpoena

directing her to produce records within her custody and control, and that on the day set out in the

subpoena she intentionally failed to comply, it made out a prima facie case of wilful default.”). It

does not matter if the Defendant’s deliberate and intentional failure was in good faith; the

Government does not have to show “evil motive”—“[a] deliberate intention not to appear is

sufficient.” Licavoli, 294 F.2d at 208.

       A defendant’s mistaken belief that the law excused his compliance—here, for the

Defendant, based on executive privilege—is not a valid defense to contempt of Congress. See id.

at 209 (“[T]here can be no serious dispute about the deliberate intention of [the defendant] not to

appear before the Committee pursuant to its subpoena. That he meant to stay away was made

abundantly clear. That he did so upon the advice of a lawyer is no defense.”); Yellin v. United

States, 374 U.S. 109, 123 (1963) (regarding defendant’s refusal to answer congressional

committee’s questions, “[o]f course, should Yellin have refused to answer in the mistaken but

good-faith belief that his rights had been violated, his mistake of law would be no defense.”) (citing

Watkins v. United States, 354 U.S. 178, 208 (1957); Sinclair v. United States, 279 U.S. 263, 299

(1929), overruled on other grounds, United States v. Gaudin, 515 U.S. 506 (1995)); Watkins, 354

U.S. at 208 (regarding a defendant’s refusal to answer a question because he did not believe it was

pertinent, “[a]n erroneous determination on his part, even if made in the utmost good faith, does

not exculpate him if the court should later rule that the questions were pertinent to the question




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under inquiry”); Order, United States v. Bannon, 2022 WL 2900620, at *1 (D.D.C. Apr. 6, 2022)

(excluding defendant’s advice-of-counsel defense to contempt of Congress because it is

unavailable under Licavoli); United States v. Bannon, D.D.C. Case No. 1:21-cr-670, Hrg. Tr.

7/11/22 at 115-116 (oral ruling granting motion in limine; “[defendant] cannot present evidence

regarding [OLC opinions and DOJ writing] to demonstrate that he believed he was not required to

comply with the Subpoena, since that question is irrelevant to whether [defendant] deliberately

and intentionally failed to comply with the Subpoenas. So too with his assertions of privilege. As

a general matter, none of that evidence can justify his failure to appear or produce documents under

Licavoli.”); id. at 121 (“Evidence regarding the reasons that [defendant] did not comply with the

Subpoena here, for example, because he didn’t believe the Subpoena was valid or because he was

-- he believed he was legally excused from showing up as a result of the former President’s

implication of executive privilege or because he relied on his lawyers’ advice on these topics, these

are [ir]relevant to the criminal charges here and therefore inadmissible.”).

       At trial, the Government will prove that the Defendant acted willfully in his default of the

subpoena because he accepted service of it and then made an intentional and deliberate choice not

to comply with its demands in any way. Because it would not be a valid defense for the Defendant

to respond that he did so out of a reliance on executive privilege, the Defendant should not be

permitted to present argument or evidence in support of such a claim to the jury.

           b. The Defendant Cannot Make the Required Threshold Showings for the
              Affirmative Defenses of Entrapment by Estoppel or Public Authority.

       The Defendant provided notice that he intends to assert public authority and entrapment-

by-estoppel defenses at trial. See ECF No. 36. These are affirmative defenses for which a

defendant bears the burden. See, e.g., United States v. Theunick, 651 F.3d 578, 590 (6th Cir. 2011)

(“the defendant bears the burden of proving the affirmative public authority defense”); United


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States v. Khanu, 664 F. Supp. 2d 35, 41 (D.D.C. 2009) (stating entrapment by estoppel defense

applies where defendant establishes elements by preponderance of the evidence). Before he can

present them to the jury, the Defendant must make a threshold showing of the elements of each

defense. See, e.g., United States v. Alvarado, 808 F.3d 474, 484 (11th Cir. 2015) (“[A] defendant

will not be allowed to assert the [public-authority] defense, or to demand that the jury be instructed

on it, unless he meets certain evidentiary prerequisites.”); United States v. Pardue, 385 F.3d 101,

108 (1st Cir. 2004) (affirming exclusion of entrapment-by-estoppel defense at trial where

defendant could not make prima facie case). Because the Defendant has not made—and on the

facts in this case, cannot make—the required showing for either defense, he should not be

permitted to present evidence or argument regarding them at trial.

                    i. Entrapment by Estoppel

       An entrapment-by-estoppel defense “arises when an individual criminally prosecuted for

an offense reasonably relied on statements made by a government official charged with

‘interpreting, administering, or enforcing the law defining the offense’ and those statements

actively misled the individual to believe that his or her conduct was legal.” United States v.

Chrestman, 525 F. Supp. 3d 14, 29–30 (D.D.C. 2021) (quoting United States v. Cox, 906 F.3d

1170, 1191 (10th Cir. 2018)). A defendant seeking to raise it must furnish proof: “(1) that a

government agent actively misled [the defendant] about the state of the law defining the offense;

(2) that the government agent was responsible for interpreting, administering, or enforcing the law

defining the offense; (3) that the defendant actually relied on the agent’s misleading

pronouncement in committing the offense; and (4) that the defendant’s reliance was reasonable in

light of the identity of the agent, the point of law misrepresented, and the substance of the

misrepresentation.” Id. at 31.




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       The Defendant cannot make out any of these elements, and has not articulated facts that

would support an entrapment defense. In his notice, the Defendant suggests, without elaboration,

that the statements that he relied upon in choosing to default on the Committee’s subpoena were

those of the former President. See ECF No. 36 at 1-2 (“At all times relevant, Dr. Navarro operated

with respect to the Select Committee’s subpoena at the direction of former President Donald J.

Trump.”). But as the Court has observed, the Defendant has conceded that he did not receive any

direction from the former President with respect to the Committee’s subpoena, as opposed to one

issued by a separate Committee for unrelated materials several months earlier. See Order, ECF

No. 55 at 5 n.2. Even if he had received instructions as to the subpoena from the former President

in February 2022, however, it would not suffice; at that time, the former President was a private

citizen, not a government official responsible for interpreting, administering, or enforcing the law.

Another court in this District has held similarly. See United States v. Bannon, D.D.C. Case No.

1:21-cr-670, Hrg. Tr. 7/11/22 at 122-126 (granting motion in limine); 122 (“defenses of

entrapment by estoppel or public authority” cannot “go to the jury”); id. at 125 (court “will

therefore not instruct the jury on a defense of public authority” and “will exclude the evidence that

would go to that defense,” nor for “apparent authority” defense).

                   ii. Public Authority

       A public authority defense is, essentially, a defendant’s claim that the Government

specifically authorized him to commit an illegal act. Alvarado, 808 F.3d at 485 (the defense

concerns a defendant “who knows the conduct he has been authorized to commit is illegal” but

acts on the belief that he is an agent of a government official who had authority to order it). The

defense is typically raised in the context of covert investigative activity that is undertaken during

a criminal investigation, and it has no application in the circumstances presented in this case. To




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establish the threshold showing for a public authority defense, the Defendant must establish that

1) a law enforcement officer must have actually authorized his conduct; 2) that he reasonably relied

on that authorization when engaging in the conduct; and, 3) that official must have actually had

the authority to permit him to engage in the criminal conduct in question. Id. at 484.

       Here, too, the Defendant cannot provide any support for such a defense. In his notice, the

Defendant claims that he “acted with public authority when he notified the Select Committee in

February 2022, and thereafter, that he could not comply with the Committee’s subpoena due to

President Trump’s direction to assert Executive Privilege.” ECF No. 36 at 2. Again, however,

this claim is at odds with the facts that the defendant has conceded: former President Trump never

gave him a direction not to comply with the Committee’s subpoena. In any event, the former

President was not then a law enforcement officer with authority to permit the Defendant to engage

in criminal conduct.

       At bottom, the Defendant’s effort to assert entrapment-by-estoppel and public authority

defenses is an attempt to admit through the back door evidence in support of his invalid defense

that executive privilege, or his mistaken reliance on it, excused his compliance with the subpoena.

ECF No. 36 at 2-3 (“Alternatively, Dr. Navarro intends to assert that his actions did not violate the

statute because he lacked criminal intent due to a mistake of fact – i.e., that he honestly, albeit

mistakenly, believed that he performed the charged offenses in cooperation with the government.”)

No such defense is permitted, see Licavoli, 294 F.2d at 208, and the Court should not allow it.

           c. The Defendant Waived His Objections to the Constitution of the Committee,
              and He Cannot Make Them at Trial.

       For the first time in his pleadings before this Court, the Defendant raised objections to the

composition of the Committee that issued his subpoena. ECF No. 31 at 21-25; ECF No. 34 at 17-

27. However, because he failed to raise such objections before the Committee at the time of his


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non-compliance, he cannot raise them now before the Court or before the jury. As the Court has

already noted about the Defendant’s claims on this front, “[i]t would appear that Defendant has

waived any such challenges to the Committee’s composition, as he did not raise them first before

the Committee itself.” See Order, ECF No. 55 at 11 (citing Liveright v. United States, 347 F.2d

473, 475–76 (D.C. Cir. 1965)).

        As set forth in the Government’s Opposition to the Defendant’s Motion to Dismiss, ECF

No. 44 at 14-25, the law is clear that in the contempt of Congress context, a defendant who fails

to raise an evident privilege or objection to a congressional subpoena with the Committee that

issued the subpoena waives his ability to make the claim later in court. See Bryan, 339 U.S. at

332-33 (“[I]f respondent had legitimate reasons for failing to produce the records of the

association, a decent respect for the House of Representatives, by whose authority the subpoenas

issued, would have required that she state her reasons to noncompliance upon the return of the

writ. . . . To deny the Committee the opportunity to consider the objection or remedy it is in itself

a contempt of authority and an obstruction of its processes.” (citation omitted); Hutcheson v.

United States, 369 U.S. 599, 608-611 (1962) (stating that a constitutional objection “must be

adequately raised before the inquiring committee if [it] is to be fully preserved for review in this

Court. To hold otherwise would enable a witness to toy with a congressional committee in a

manner obnoxious to the rule that such committees are entitled to be clearly apprised of the grounds

on which a witness asserts a right of refusal to answer.” (internal citations omitted). See also

United States v. Bannon, D.D.C. Case No. 1:21-cr-670, Hrg. Tr. 7/11/22 at 126-133; 128 (granting

motion in limine to exclude evidence about whether the composition of the Select Committee and

its leadership complied with House Rules; such “evidence is excludable and will not be presented

to the jury”).




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           Here, the Defendant waived the objections he is now trying to make by failing to raise them

before the Committee at a time during which the Committee could have addressed them. Both

matters that he now raises as objections—that the Committee operated with fewer than 13

members, and that the Committee’s ranking minority member used instead the title of “Vice

Chair”—were matters of public record at the time of his default, but he did not raise them before

the Committee as a basis for his noncompliance. Accordingly, because he waived these objections,

the Defendant should not be permitted to introduce evidence or argument regarding these alleged

violations of Committee rules.

    III.      The Defendant Cannot Make Claims of Selective Prosecution or Government
              Misconduct at Trial.

           In his Motion to Dismiss and other filings, the Defendant has claimed that the Government

selectively prosecuted him, ECF No. 34 at 32-36, abused the grand jury process, ECF No. 34 at

40-43, and mistreated him at the time of his arrest, ECF No. 31 at 27-28. None of these issues

concern the elements of the offense or go to the Defendant’s guilt or innocence, and there is thus

no place for them at trial.

           The Defendant cannot raise his unavailing claims of selective prosecution in front of the

jury. “[T]he issue of selective prosecution is one to be determined by the court, as it relates to an

issue of law entirely independent of the ultimate issue of whether the defendant actually committed

the crimes for which she was charged.” United States v. Washington, 705 F.2d 489, 495 (D.C. Cir.

1983) (internal citations omitted); see also United States v. Abboud, 438 F.3d 554, 579 (6th Cir.

2006) (“[T]he defense of selective prosecution is a matter that is independent of a defendant’s guilt

or innocence, so it is not a matter for the jury.”). Here, the Defendant should not be permitted to

present evidence or make arguments before the jury that he was selectively prosecuted or that he

was prosecuted because of his speech or political beliefs. Similarly, the Court should not allow


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the Defendant to argue that contempt of Congress prosecutions are infrequent, that his prosecution

is unprecedented, or that other individuals referred by Congress were not ultimately charged. See

United States v. Young, 20 F.3d 758, 765 (7th Cir. 1994) (finding that whether another individual

was charged with the same crime as the defendant did “not make the facts relating to [defendant’s]

knowledge and participation in the [crime] more or less probable” and affirming exclusion of such

argument at trial). None of these arguments go toward any of the elements of the offenses charged,

and they are not matters for the jury’s consideration.

         The Defendant also drew attention to the misdemeanor nature of the charges in his selective

prosecution claim. See ECF No. 31 at 28, Hrg. Tr. 7/15/22 at 11. The Defendant should be

foreclosed from suggesting to the jury that his crimes do not matter, that they are misdemeanors,

or what the potential punishment would be should he be convicted. The potential penalties or

severity of the charged offenses are irrelevant to guilt or innocence and thus also inadmissible at

trial.   Shannon v. United States, 512 U.S. 573, 579 (1994) (“Information regarding the

consequences of a verdict is therefore irrelevant to the jury’s task.”); United States v. Wade, 962

F.3d 1004, 1012 (7th Cir. 2020) (finding arguments aimed at suggesting the charged crime was

not serious or harmful were improper nullification claims).

         Likewise, the Defendant should not be permitted to make any claims before the jury

regarding alleged government misconduct—including regarding the circumstances of his arrest.

A claim of government misconduct “is, like a claim of selective prosecution, ultimately separate

from the issue of [a defendant’s] factual guilt,” and is accordingly not an issue for the jury. United

States v. Regan, 103 F.3d 1072, 1082 (2d Cir. 1997); see also United States v. Wylie, 625 F.2d

1371, 1378-79 (9th Cir. 1980) (holding that “outrageous involvement by the government agents”

is a matter for the court, not the jury). Nothing about the circumstances of the Defendant’s arrest




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are relevant to the elements of the contempt of Congress charges; the only possible purpose for

which the Defendant could attempt to raise them would be to evoke sympathy from and encourage

improper nullification by the jury. He should be precluded from doing so.

    IV.      The Court Should Not Permit Politicization of the Trial

          Partisan politics have no place in a criminal trial. See United States v. Rosado, 728 F.2d

89, 93 (2d Cir. 1984) (identifying claims by defendants that they were victims of political

persecution as “matters far beyond the scope of legitimate issues in a criminal trial”). The Court

should carefully guard against politicization during trial. For instance, the Court should not permit

general commentary on the political affiliation of Members of Congress, or to suggest that they

had particular motives for referring him to the Department of Justice. See Barenblatt v. United

States, 360 U.S. 109, 133 (1959) (motives of individual committee members irrelevant to the

Committee’s legislative purpose). The Defendant should not be permitted to introduce evidence

or make arguments about the Congressional vote count on the Defendant’s contempt resolution,

or otherwise raise extraneous political issues; none of these issues go to the elements of the

offenses charged, and serve only to invite the jury to make improper political considerations during

their deliberations.

          To the extent that the Government calls as witnesses individuals on the Committee’s staff,

the Defendant will have the right to cross-examine them. The Court retains, and should exercise,

broad discretion to limit the Defendant’s cross-examinations. See Delaware v. Fensterer, 474 U.S.

15, 20 (1985) (finding that the Confrontation Clause “guarantees an opportunity for effective

cross-examination, not cross-examination that is effective in whatever way, and to whatever

extent, the defense might wish” (emphasis in original)); United States v. Derr, 990 F.2d 1330,

1334 (D.C. Cir. 1993) (“The Confrontation Clause does not bar a judge from imposing reasonable




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limits on a defense counsel’s inquiries.”). The Defendant should not be permitted to cross-examine

Committee witnesses about their personal political beliefs or affiliations, or about irrelevant

political dynamics within the Committee. Although the Defendant is entitled to explore whether

any witness at trial has a bias, bias is “the relationship between a party and a witness which might

lead the witness to slant, unconsciously or otherwise, his testimony in favor of or against a party.”

United States v. Spencer, 25 F.3d 1105, 1109 (D.C. Cir. 1994) (internal quotation omitted). The

political beliefs or affiliations of a witness, by themselves, do not go to the witness’s truthfulness

about the basic facts—such as, in this case, whether a witness emailed a subpoena to the Defendant,

engaged in communications with him, or whether the defendant produced any records or presented

himself for a deposition. “Membership in a political party, by itself, does not necessarily signify

anything about a person’s truthfulness.” United States v. Arias-Izquierdo, 449 F.3d 1168, 1180

(11th Cir. 2006). Similarly, it would be improper for the Defendant to cross-examine a testifying

Committee witness about the political beliefs, or even perceived biases, of non-testifying

individuals; because non-testifying individuals’ credibility is not an assessment for the jury to

make, the only purpose in doing so would be improper nullification.

   V.      The Exhibits the Defendant Has Proposed Are Irrelevant and Inadmissible.

        On September 14, 2022, the Defendant notified the Government of several exhibits that he

intends to introduce at trial. The exhibits are: (1) a February 9, 2022 email from the Defendant to

Elizabeth Shew Harrington, a spokesperson for former President Trump, informing her that he had

been subpoenaed by the Committee; sharing with her public statements he had prepared suggesting

that executive privilege exempted his compliance; and asking Harrington to share with the former

President (attached as Ex. 1); (2) a May 23, 2022 email to the Defendant from an individual named

Joanna Miller, who in the email appears to be assisting the Defendant in drafting a lawsuit, and




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the attachment to the email, which consists of a draft 87-page complaint the Defendant ultimately

filed (attached as Ex. 2); and (3) his own phone records for the period from November 2021

through June 2022.

        All of the Defendant’s proposed exhibits are irrelevant and inadmissible, and should be

excluded. First, the Defendant’s February 9, 2022, email to Harrington is plainly hearsay, because

it is his own out-of-court statement that he is offering for the truth of the matter asserted in his

prepared statement. “While the Federal Rules of Evidence set forth various exceptions to hearsay,

self-serving hearsay is not one of those.” United States v. Michael Jabaar Wilkins, No. CR 19-390

(RC), 2021 WL 1894990, at *5 (D.D.C. May 11, 2021) (citing United States v. Rivera-Hernandez,

497 F.3d 71, 82 n.5 (1st Cir. 2007)) (“To be received in evidence an admission . . . must be contrary

to that party’s position at the time of the trial.”)

        To the extent that the Defendant offers this evidence to establish his own state of mind

regarding executive privilege, it is another effort to introduce an improper defense. As explained

above, the Defendant’s claimed mistaken belief on this front is not a defense. Licavoli, 294 F.2d

at 208-9. Second, the Defendant’s email from an unrelated third party, and the attached draft legal

brief, are inadmissible and irrelevant. A self-serving draft document that the Defendant compiled

several months after the charged conduct, after being notified that he was under investigation, has

no bearing on the issues properly before the jury at trial. Furthermore, the document is 87 pages

of inadmissible hearsay, as it is the Defendant’s own statement offered for the truth of the

statements within it. Finally, the Defendant has not explained for what purpose he intends to

introduce his own phone records at trial, but if he intends to do so to support of any of the improper

arguments described in this motion, he should not be permitted to do so—and the Court should

inquire into the relevance of the phone records before allowing the Defendant to proceed.




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   VI.      Conclusion

         So that the forthcoming trial may proceed in a fair and expeditious manner, the Government

requests the Court enter an order precluding the Defendant from offering inadmissible evidence

and argument.


                                              Respectfully submitted,

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                       EXHIBIT 1




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                       EXHIBIT 2




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
PETER NAVARRO,                               )
                                             )
Washington, DC, 20004                        )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )   Case No.
                                             )
NANCY PELOSI, in her official                )
capacity as Speaker of the United States     )
House of Representatives;                    )
                                             )
BENNIE G. THOMPSON, in his official )
capacity as Chair of the Select Committee ) to
Investigate the January 6th Attack on the )
United States Capitol;                       )
                                             )
ELIZABETH L. CHENEY, in her official )
capacity as a member of the United States )
House of Representatives;                 )
                                             )
ADAM B. SCHIFF, in his official           )
capacity as a member of the United States )
House of Representatives;                 )
                                             )
JAMIE B. RASKIN, in his official          )
capacity as a member of the United States )
House of Representatives;                 )
                                             )
SUSAN E LOFGREN, in her official
) capacity as a member of the United States )
House of Representatives;                   )
                                             )
ELAINE G. LURIA, in her official          )
capacity as a member of the United States )
House of Representatives;                 )
                                             )
PETER R. AGUILAR, in his official         )
capacity as a member of the United States )
House of Representatives;                 )
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STEPHANIE MURPHY, in her official )
capacity as a member of the United States )
House of Representatives;                 )
                                           )
ADAM D KINZINGER, in his official )
capacity as a member of the United States )
House of Representatives;                 )
                                          )
SELECT COMMITTEE TO
INVESTIGATE THE JANUARY 6TH )
ATTACK ON THE UNITED STATES )
CAPITOL;)


UNITED STATES HOUSE OF
REPRESENTATIVES                           )


             Defendants.                   )
                                               )


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      INTRODUCTION

       1.     I, the Plaintiff, Dr. Peter Navarro, am a private citizen who previously served as

a senior White House advisor during the four years of Donald John Trump’s presidency. I

bring this complaint pro se, request a jury trial, and seek declaratory and injunctive relief to:

(1) declare that the Select Committee To Investigate the January 6th Attack on the United

States Capital (Committee) is neither duly authorized nor properly constituted and therefore its

legislative acts, including its subpoena issued to me and Committee Report 117-284 of the 2nd

session of the 117th Congress are therefore ultra vires, unlawful, and unenforceable; (2)

declare that the Committee’s subpoena, the Committee’s Report 117-284, and House

Resolution 1037 117th Congress (2021-2022) all represent legislative acts that violate the




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principle of separation of powers in their unlawful simultaneous pursuit of a judicial function

under the flag, and behind the shield, of a facially valid legislative function and are therefore

ultra vires, unlawful, and unenforceable; (3) declare that the Committee’s subpoena, the

Committee’s Report 117-284, and H.Res. 1037 violate the constitutional proscription against

bills of attainder and are therefore ultra vires, unlawful, and unenforceable; (4) enjoin the U.S.

Attorney for the District of Columbia from proceeding against me “in the manner and form

provided by law” as H.Res. 1037 recommends; (5) declare that the subpoena issued to me

improperly compels testimony of a senior executive official; and (6) declare that President Joe

Biden does not have the legal authority to waive the executive privilege or testimonial

immunity invoked by his predecessor in this civil case.

       2.     Duly authorized congressional committees have subpoena authority implied by

Article I of the Constitution. McGrain v. Daugherty, 273 U.S. 135, 174 (1927). The

Committee is not, however, a duly authorized or properly constituted congressional committee

because it fails to comport with House Resolution 8 117th Congress (2021)1 and with its own

authorizing resolution, House Resolution 503 117th Cong. Therefore, the subpoena it has

issued to me is invalid and unenforceable.

       3.     For a Congressional Committee to duly issue valid and enforceable subpoenas

during an investigation — and by extension, seek criminal contempt charges against those

who fail to comply with such subpoenas — that investigation must have a valid “legislative

function.”2 The Comm. On Ways & Means v. U.S. Dep't of Treasury notes that “[a] long line

of     Supreme       Court      cases        requires     great    deference      to      facially

valid congressional inquiries.” Comm. On Ways & Means v. U.S. Dep't of Treasury, 1:19-cv-

01974 (TNM), at *1 (D.D.C. Dec. 14, 2021). [emphasis added]3



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       4.     United States v. Brown makes clear that "[l]egislative acts, no matter what their

form, that apply either to named individuals or to easily ascertainable members of a group in

such a way as to inflict punishment on them without a judicial trial are bills of attainder

prohibited by the Constitution.” United States v. Brown, 381 U.S. 437, 448 (1965).          The

Committee’s subpoena and the Committee’s Report to Congress 117-284 recommending that I

be held in contempt of Congress along with H. Res. 1037 all represent “legislative acts.”

       5.     While the unwillingness of the courts to look beyond “facially valid”

congressional investigations may have been correct law within the context of the balance of

power within the three branches of government in prior times, over time, the setting of this

low “facially valid” bar has been an open invitation for legislators to simultaneously pursue an

unconstitutional judicial function under the false flag, and behind the shield of, their

legislative function.    It should be clear here that a pursuit of a facially valid legislative

function does not preclude the unconstitutional and unlawful simultaneous pursuit of judicial

function.

       6.     The result of the courts’ silence in this matter is now clear: Repeated abuses by

Congress in using its investigatory powers to simultaneously serve both facially valid

legislative and unconstitutional judicial functions have institutionalized a partisan

weaponization of Congress’ investigatory powers that now threatens the delicate balance of

powers – and the separation thereof — between the legislative, judicial, and executive

branches of our government. In this case, the legislative history of the Committee and its

members broadly viewed over a more than five-year period reveals an undeniable and

overwhelming pattern of the weaponization of Congress’ investigatory powers to pursue a

judicial, and by implication, a political function.



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       7.     In this case, the legislative acts of the Committee and its members together with

H.Res 1037 constitute an unlawful exercise of the judicial function over and above the

Committee’s “facially valid” legislative function, thereby violate the principle of the

separation of powers, and cannot advance a legal contempt of Congress charge against me

through the United States Attorney’s office.

       8.     The Committee’s subpoena, the Committee’s Report 117-284, and H.Res. 1037

constitute legislative acts that violate the constitutional proscription against bills of attainder,

and each should be invalidated and declared unenforceable. These legislative acts violate the

Constitutional proscription against bills of attainder because: (1) they seek to determine guilt

and inflict punishment on me in the forms of shame, humiliation, banishment, ostracization,

incitement of public hate, possible imprisonment, and the confiscation of my property, all

without adequate provision of the protections of a judicial trial, and (2) the Committee,

contrary to the court’s guidance, failed to pursue less burdensome alternatives to achieve its

alleged “legitimate nonpunitive objectives.” Nixon v. Administrator of General Services, 433

U.S. 425, 482 (1977). The set of deprivations which the Committee and its members and

which the Democrat-controlled House have inflicted and seek to inflict on me are

“so disproportionately    severe   and   so    inappropriate   to   nonpunitive    ends that   they

unquestionably … fall within the proscription of Art. I, § 9. Nixon v. Administrator of

General Services, 433 U.S. 425, 473 (1977). At my age of seventy-two, with the average life

expectancy in America for males at seventy-six, a one-year prison term would constitute over

25% of my remaining expected life while a $100,000 fine would be equivalent to a significant

fraction of my wealth for retirement.

       9      Rather than pursuing the less burdensome alternatives of negotiating a waiver of



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executive privilege and testimonial immunity from President Trump and his attorneys or a

civil suit as Nixon v. Administrator of General Services and Committee on Judiciary v. Miers

guides, the Committee and Congress with its passage of H.Res. 1037 have pursued the most

burdensome and punitive alternative with a potential criminal prosecution in their naked effort

to threaten and coerce me into turning my back on my duty to my country and appearing

before their kangaroo court. By the Committee’s refusal to negotiate directly with President

Trump and his attorneys on the issue of executive privilege and testimonial immunity – the

least burdensome alternative – and by failing to pursue the second least burdensome

alternative of a civil suit, my due process has been violated, the legislative acts of the

Committee and House of Representatives against me have been exposed as bills of attainder,

and these legislative acts of the Committee and Congress in this case must be invalidated.

Nixon v. Administrator of General Services, 433 U.S. 425, 482 (1977).           Committee on

Judiciary v. Miers, 558 F. Supp. 2d 53, 76-77 (D.D.C. 2008).

       10.     There is no settled law to support the absurd, fanciful, and extremely dangerous

proposition that an incumbent president can waive the executive privilege invoked by his

predecessor or waive the testimonial immunity of the senior advisers serving under that

predecessor.

       11.     Executive privilege is an institution dating back to the days of George

Washington that has been deemed critical to effective presidential decision-making; executive

privilege, together with testimonial immunity for senior White House advisers provide

necessary shields to foster the kind of candor that must exist among the president and his most

senior advisors to promote the most effective presidential and executive branch decision-

making possible.



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       12.    I have been put in the untenable position of choosing between conflicting

privilege claims that are of constitutional origin and dimension for which there is no settled

law. Allowing a sitting president of one political party to strip a predecessor of another

political party of executive privilege and likewise strip senior White House advisors serving

that predecessor of their testimonial immunity – regardless of whether this is done under the

false flag of the national interest – represents the most extreme and dangerous form of

qualifying the privilege and the testimonial immunity. If this fanciful and absurd idea were

turned into settled law, imbuing an incumbent president with such power would turn deal a

mortal blow to the critical functions that executive privilege and testimonial immunity are

supposed to serve in our Republic. These functions are to: (1) help ensure the separation of

powers; and (2) provide for optimum candor in presidential decision-making. Any settled law

that institutionalizes a revolving partisan door for the waiving of testimonial immunity and

executive privilege will end both immunity and privilege as essential elements of effective

presidential decision-making.

       13.    The Committee’s members along with House Speaker Nancy Pelosi over a more

than five year period have been engaged in a “repeatable strategic game” of “gotcha” and

punishment that threatens to reduce the institutions of executive privilege and testimonial

immunity to ping pong balls of partisan politics. In this strategic ping pong game, whichever

party controls both the House of Representatives and White House will effectively weaponize

Congress’s investigatory powers in ways designed to: (1) punish political rivals and (2) deny

individuals the opportunity to effectively run for political office or serve in government.

       14.    The time is ripe for the court to address this controversy and the question of

whether an incumbent president can strip his predecessor of executive privilege and



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testimonial immunity. Here, if the Committee and Joe Biden manage to pull this deadly game

off now and effectively establish the principle in settled law that an incumbent can strip his

predecessor of both executive privilege and testimonial immunity, just imagine what will

happen to Joe Biden and his advisers if Republicans win both the White House and House in

2024.

        15.   Congress cannot lawfully hold me in contempt of Congress for failure to comply

with a subpoena that compels me to testify before the Committee because, under long-

standing Department of Justice Office of Legal Counsel (OLC) policy, I have absolute

testimonial immunity as a senior White House official. As OLC notes: “Since the 1970s, this

Office has consistently advised that ‘the President and his immediate advisers are absolutely

immune from testimonial compulsion by a Congressional committee’ on matters related to

their official duties’” and "[t]he President and his immediate advisers-that is, those who

customarily meet with the President on a regular or frequent basis-should be deemed

absolutely immune from testimonial compulsion by a congressional committee.’ Indeed, this

Office has endorsed that legal principle on more than a dozen occasions, over the course of the

last eight presidential administrations.” Memorandum For Pat A. Cipollone Counsel To The

President Re: Testimonial Immunity Before Congress of the Former Counsel to the President,

May 20, 2019.

        16.   If the testimonial immunity of senior White House officials is absolute as

decades of OLC opinions have deemed it, I thereby have a duty to my country to fail to

comply with said Committee subpoena and cannot be held in contempt for this failure to

comply; and I have no other choice but to follow the OLC and Counsel’s opinion.

        17.   If testimonial immunity exists as an institution to provide for unconstrained



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candor in communications between an adviser and the president or other advisers, as set forth

in Counsel Pat A. Cipollone’s memo, then it can’t be waived by the adviser and certainly not

by an incumbent president under which the adviser did not serve. Only the courts have the

power to waive such absolute testimonial immunity on a case-by-case basis and, given the

high stakes for the Republic involved, the courts should tread extremely lightly. If the purpose

of testimonial immunity is to provide the confidence senior White House advisers need to

speak in complete candor to the president and other senior advisers and thereby promote the

most efficient and effective presidential decision-making, then any erosion of such testimonial

immunity protection must inevitably lead to a reduction in such candor and therefore less

optimal decisions.

       18.    I come to this case far exceeding “"the irreducible constitutional minimum of

standing.” Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992). I will demonstrate substantial

injury through punishment from Speaker Pelosi, the Committee, and Democrat-controlled

House of Representatives responsible for passage of H.Res. 1037 along with possible

imminent, existential injury through punishment and the threat of punishment from the U.S.

Attorney of the District of Columbia. Only a set of favorable rulings by this court will clearly

redress these injuries and prevent further injury.

                                           PARTIES


       1.      Plaintiff Peter Navarro served as a senior White House adviser during all four

years of the Trump administration. He is currently a professor emeritus at the University of

California-Irvine.

       2.      Defendant Nancy Pelosi (“Speaker Pelosi”) is a Democrat member of the U.S.

House of Representatives and Speaker of the House.

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       3.      Defendant Bennie G. Thompson (“Chairman Thompson”) is a Democrat

member of the U.S. House of Representatives and Chairman of the Committee to Investigate

the January 6th Attack on the United States Capitol. Subpoenas challenged herein were issued

with his authority as Chair. Thompson also introduced H. Res. 1037 – 117th Congress (2021-

2022) with zero cosponsors.

       4.      Defendant Elizabeth L. Cheney is a Republican member of the U.S. House of

Representatives and members of the Committee to Investigate the January 6th Attack on the

United States Capitol.

       5.      Defendant Adam B. Schiff is a Democrat member of the U.S. House of

Representatives and members of the Committee to Investigate the January 6th Attack on the

United States Capitol.

       6.      Defendant Jamie B. Raskin is a Democrat member of the U.S. House of

Representatives and members of the Committee to Investigate the January 6th Attack on the

United States Capitol.

       7.      Defendant Susan E. Lofgren is a Democrat member of the U.S. House of

Representatives and members of the Committee to Investigate the January 6th Attack on the

United States Capitol.

       8.      Defendant Elaine G. Luria is a Democrat member of the U.S. House of

Representatives and members of the Committee to Investigate the January 6th Attack on the

United States Capitol.

       9.      Defendant Peter R. Aguilar is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack

on the United States Capitol.



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        10.    Defendant Stephanie Murphy is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack

on the United States Capitol.

        11.    Defendant Adam D. Kinzinger is a Republican member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack

on the United States Capitol.

        12.    Defendant Select Committee to Investigate the January 6th Attack on the

United States Capitol (the “Select Committee”) is a select committee created by House

Resolution 503 (“H. Res. 503”) passed by the U.S. House of Representatives on June 30,

2021.

        13.    Defendant House of Representatives passed H. Res. 1037 by the yeas and nays

220-203 along party lines (with two Republican votes) on April 6, 2022.

                                JURISDICTION AND VENUE

        1.     This Court has subject matter jurisdiction, pursuant to 28 U.S.C. § 1331,

because this action arises under the Constitution and laws of the United States.

        2.     This Court has personal jurisdiction over Speaker Pelosi because she sponsored

H. Res. 503 and oversaw its passage in the House.

        3.     This Court has personal jurisdiction over Chairman Thompson because he

presides over the Committee and introduced H. Res. 1037.

        4.     This court has personal jurisdiction over Elizabeth L. Cheney, Adam B. Schiff,

Jamie B. Raskin, Susan E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy,

Adam




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D. Kinzinger because they serve as members of the Committee that issued the Navarro subpoena

from Washington, D.C.

       5.      This Court has personal jurisdiction over the Committee because it is located and

operates in Washington, D.C.

       6.      Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events

giving rise to the claim occurred in Washington, DC.

                                     RELEVANT FACTS
       1.     On August 3, 2020, the Democrat-funded Transition Integrity Project publicly

released a detailed plan to skew the 2020 presidential election in favor of Joe Biden using a

combination of lawfare and grassroots tactics. Their overarching purpose was to stuff the

ballot box in key battleground states with absentee ballots, many of which would, under the

lax, and often illegal, rules they sought to impose, would be illegal votes, and therefore

unlawful to count.4

       2.     In a Time magazine cover story, journalist Molly Ball published an article after

the election entitled “The Secret History of the Shadow Campaign That Saved the 2020

Election” which confirmed many of the strategies and tactics the Democrats had used to tilt

the election in favor of Joe Biden as had been set forth in the TIP plan. Notes Ball: “Their

work touched every aspect of the election. They got states to change voting systems and laws

and helped secure hundreds of millions in public and private funding.”5

       3.     In the wake of the November 3, 2020 election, numerous analyses emerged

revealing the elaborate strategies and tactics the Democrats had indeed used to skew the

election and that the Transition Integrity Project had foreshadowed. This set of analyses

included the Plaintiff’s “Navarro Report;”6 and as noted in that report:



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 On January 13, 2021, the Democrat-controlled House of Representatives
 passed House Resolution 24 “impeaching Donald John Trump, President of the
 United States, for high crimes and misdemeanors.” A primary justification for
 this overwhelmingly partisan impeachment is that “President Trump
 repeatedly issued false statements asserting that the Presidential election
 results were the product of widespread fraud and should not be accepted by
 the American people or certified by State or Federal officials.”

 If it can be demonstrated that President Trump had a good faith belief that the
 November 3, 2020 Presidential election results were, indeed, the poisonous
 fruit of widespread fraud and election irregularities, POTUS45 must not only
 be found Not Guilty. The U.S. Senate must also call for a prompt investigation
 of these alleged irregularities.

 The three volumes of the Navarro Report provide just such a demonstration.
 These three volumes have been consolidated herein into a single document
 explicitly designed as a useful evidentiary handbook and reference guide for
 the upcoming Senate impeachment trial.

 Evidence used in the preparation of the Navarro Report includes more than 50
 lawsuits and judicial rulings, thousands of affidavits and declarations,
 testimony in a variety of state venues, published analyses by think tanks and
 legal centers, videos and photos, public comments, and extensive press
 coverage.

 Volume One finds significant election irregularities across six key
 battleground states – Arizona, Georgia, Michigan, Nevada, Pennsylvania, and
 Wisconsin. These irregularities range from outright voter fraud, ballot
 mishandling, and contestable process fouls to Equal Protection Clause
 violations, voting machine irregularities, and significant statistical anomalies.

 Volume Two examines a two-pronged Grand “Stuff the Ballot Box” Strategy
 used by the Democrat Party and its political operatives to flood the



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        battleground states with enough illegal absentee and mail-in ballots to turn a
        decisive Trump victory into a narrow, and arguably illegitimate, Biden “win.”
        To strategically game the Presidential election, the Democrats and their
        operatives were found to have at times bent or broken both election rules and
        laws.

        Volume Three provides the most up-to-date statistical “receipts” with respect
        to the potential number of illegal votes cast in each battleground state. Volume
        III thereby provides investigators with a well-documented tally of potentially
        illegal votes on a state-by-state and category-by- category basis. A key finding
        is that the number of potentially illegal votes dwarfs the very thin alleged
        Biden “victory” margins across all six battleground states.



        4.      Public opinion polls today indicate that a significant fraction of the American

electorate believes the 2020 presidential election was rigged or stolen. 7

        5.      There is no definitive proof offered by the Committee or available in the public

square that the November 3, 2020 presidential election was a fair election unmarred by

election irregularities.

        6.      In the Committee’s letter of February 9, 2022 transmitting a subpoena

electronically to me, the Committee accuses me of making “many claims of fraud in the

election” but also insists that these claims have been discredited by “public reporting, by state

officials, and courts.”8 Yet, the only “proof” the Committee’s Chair Bennie Thompson offers

is a laughable footnote citing an article in the long-discredited Forbes magazine – Forbes is

owned by Chinese investors and has been turned largely into a propaganda organ for the

Chinese Communist Party.9

        7.      On January 6, 2020, a large group of Trump supporters gathered in Washington




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in the American tradition of peaceful protest to support the president in his peaceful bid to get

a legal counting of the vote. At this point in time, President Trump had a strong presumption

that the election was likely rigged and stolen from him based on the data and analyses

available to him, including the “Navarro Report.”

          8.    Among a large crowd of Trump supporters, there were small pockets of

extremists likely seeking to instigate violence that could be blamed on President Trump. These

extremists ranged from members of the Marxist group Black Lives Matter and the anarchist

Antifa group to far right militia groups.10

          9.    There is likewise evidence that among the crowd were individuals serving as

informants to the FBI who may have possibly instigated the violence.11

          10.   The Committee was formed against the backdrop of this January 6 history. In

justifying its investigation, the Committee and its members refer repeatedly to the role of

President Trump and his advisors, including the Plaintiff, in instigating an unlawful

insurrection and promoting an unlawful attempt to overturn the 2020 election while insisting

that the election was fair – again, despite no definitive evidence proving the election was

fair.12

          11.   For the four years of the Trump administration, I, the Plaintiff, served as a senior

White House adviser to President Donald J. Trump. While I would carry several titles during

my term of service – Director of the National Trade Council, Director of the Office of Trade

and Manufacturing Policy, Defense Production Act Policy Coordinator – my duties and

responsibilities in the White House as an Assistant to the President during the relevant times

here spanned a far broader spectrum of economic, trade, border security, and national security

issues.



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       12.    During my service, President Trump would regularly seek my candid advice on

matters that might seem far outside my “official” duties; and a narrow construction of my role

in the White House as the Committee has done based merely on my titles fundamentally

misunderstands how the Trump White House worked.

       13.    In the aftermath of the November 3rd, 2020 election, I began an investigation that

would quickly lead to deep national and economic security concerns about election integrity.

In a series of previously referenced analyses titled collectively “The Navarro Report,” I

identified not just an abundance of fraud and election irregularities. I exposed how the

Democrat Party and its operatives effectively made what should have been a landslide win by

President Trump into an election close enough to steal.

       14.    Given the economic and national security ramifications of a possibly stolen

election, I worked diligently in my official capacity as a government official within the White

House and as a senior White House adviser to help the president and other senior advisers

navigate what appeared to me to be the most sophisticated assault on American democracy

ever perpetrated.

       15.    In the days leading up to January 6, and as reported in my book In Trump Time:

My Journal of America’s Plague Year referenced by the Committee,13 I described a legal and

constitutional strategy called the Green Bay Sweep which sought to leverage Vice President

Mike Pence’s constitutional power under the Electoral Count Act of 1887.14 The goal was to

delay certification of the election for at least another several weeks “while Congress and the

various state legislatures involved investigate[d] all of the fraud and election irregularities”

that would be raised that day on Capitol Hill.

       16.    As noted in In Trump Time, the goal of this strategy was “not to get the election



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overturned” as the Committee would insist. Rather, the goal was “to subject the ballots – the

legal votes of American citizens along what we believed to be a flood of ballots – to careful

scrutiny and investigation.”

       17.    Finally, as noted in In Trump Time, because implementation of the Green Bay

Sweep strategy required “only peace and calm on Capitol Hill,” the last thing President Trump

and I wanted was “to hand Congress an excuse to abort the operation” with an outbreak of

violence and chaos and the last people “who wanted to see violence erupt that January 6 day

on Capitol Hill” included both myself and President Trump (along with Stephen K. Bannon).

       18.    To date, the Committee has offered no significant or conclusive proof that the

November 3 election was fair or that the Navarro Report was in any way inaccurate or

misleading. Nor has the Committee offered any significant or conclusive proof that either I or

President Trump or any of the senior advisors sought to illegally overturn the election.

       19.    To recap, the Committee asserts without facts and evidence that “many claims of

purported fraud in the election...have been discredited in public reporting, by state officials,

and courts.” This is but one of many pieces of evidence that the Committee is operating upon

under the flawed assumption that the 2020 presidential election was fair and without

reasonable controversy. From this flawed assumption, this kangaroo court of a Committee is

pursuing a judicial function in seeking to punish President Trump and any of his senior

advisors who publicly reject the unproven claim that the election was indeed fair.

       20.    Against this stark backdrop of lack of evidence for its allegations, the Committee

continues to subject President Trump and senior advisors such as myself to the punishment of

shame, humiliation, banishment, ostracization, and the incitement of public hatred by

portraying us as insurrectionists rather than as patriots seeking to get the bottom of what looks



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to be, just as with the Nixon-Kennedy 1960 election, a likely stolen election. 15

       21.    The Committee’s efforts are also geared at inflicting equally traditional forms of

punishment such as imprisonment and the confiscation of the property of Trump's most senior

advisors who dare to defy the Committee’s unlawful subpoenas and investigation using the

U.S. Attorney and the vast resources of a Democrat-controlled Department of Justice as its

cudgels. In seeking to build a criminal case against President Trump and his most senior

advisors for their alleged roles in seeking to overturn a fair election, the Committee is clearly

venturing far beyond its facially valid legislative function into the realm of the

unconstitutional pursuit of a judicial cum political function.

       22.    On February 9, 2022, I received the Committee’s subpoena in which I was

“commanded to be and appear before the Select Committee to Investigate the January 6 th

Attack on the United States Capitol” (Committee) and “to testify at a deposition touching

matters of inquiry committed to said committee or subcommittee” on March 2, 2022 at 10 00

am and further to “not to depart without leave of said committee or subcommittee.”16

       23.    I was also commanded under this subpoena “to produce the things identified on

the attached schedule.”17 I found the breadth and invasiveness of this subpoena and its

attachment to be breathtaking and a direct frontal assault on both executive privilege and

testimonial immunity while it also gave the appearance of a criminal investigation, not a fact-

finding mission.

       24.    Upon receipt of this subpoena, as a former senior White House adviser to

President Donald J. Trump clearly covered by testimonial immunity, I was faced with three

broad choices:18 (1) respect President Trump’s invoking of executive privilege in the

Committee’s investigation and fail to comply with the subpoena; (2) unilaterally waive



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President Trump’s Executive Privilege and my own testimonial immunity by providing all of

the requested documents and testifying before the Committee as commanded; or (3) preserve

President Trump’s executive privilege while at least superficially meeting the requirements of

the subpoena by appearing before the Committee to testify but invoking my Fifth Amendment

rights during such testimony.

       25.   After considerable reflection and a broad overview of the law – both settled and

unsettled – I chose Choice #1: fail to comply with the subpoena while preserving the executive

privilege asserted by President Trump. I was swayed both by my own personal experience

within the White House as one of the president’s most senior and trusted advisors and by the

wisdom of United States v. Nixon that opines that “[a] President and those who assist him must

be free to explore alternatives in the process of shaping polices and making decisions and to

do so in a way many would be unwilling to express except privately,” United States v. Nixon,

418 U.S. 638 at 708.

       26.   Further, as noted in Trump v. Mazars, 140 S. Ct. 2019 at 2032, executive

privilege “safeguards the public interest in candid, confidential deliberations within the

Executive Branch” while Nixon v. Administrator of General Services opines that executive

privilege “is necessary to provide the confidentiality required for the President’s conduct of

office” because, “[u]nless he can give his advisers some assurance of confidentiality, a

President could not expect to receive the full and frank submissions of facts and opinions upon

which effective discharge of his duties depends.” Mazars, 140 S. Ct. at 2032 at 448–449.

       27.   From this vantage point, I believed at the time of my receipt of the Committee’s

subpoena – and also keenly mindful of the absolute testimonial immunity historically granted

to senior White House officials -- it was my duty to President Trump, the Constitution, and



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the Republic that I had pledged to serve and defend to honor the executive privilege that

President Trump had invoked.

       28.   I made Choice #1 knowing that it would put me in an untenable position, and I

did so despite the obvious risks to my freedom and my financial position that might come with

a criminal contempt prosecution.19 That I might face criminal charges was no idle speculation

as one such criminal prosecution was already in progress against another former Trump

advisor Stephen K. Bannon and another criminal contempt charge was possibly pending

against former Trump Chief of Staff Mark Meadows. Yet, in making Choice #1, I believed

that duty and honor must come first.

       29.   Regarding Choice #2, comply with the Committee’s subpoena, there is settled

law that dictates the executive privilege in this matter was not mine to waive, e.g., the

Supreme Court has held that executive privilege “can neither be claimed nor waived by a

private party.” United States v. Reynolds, 345 U.S. 1, 7–8 (1953). If I were to ignore President

Trump’s invocation of privilege by opting for Choice #2, I would be engaging in an act

contrary to settled law while violating due process. This would be an act of betrayal both of

the president I served and of my country. I would be violating constitutional law by waiving

the privilege myself and fully cooperating with the Committee.

       30.   With Choice #2, to the extent that I was choosing it “to save my own skin,” as

the saying goes, I would be committing an act of cowardice under partisan Congressional fire

– the exact opposite of the honorable and patriotic choice epitomized by Choice #1. I note

here in this regard that several high-ranking Trump White House officials, including President

Trump’s son-in-law Jared Kushner, chose to ignore the critical privilege and immunity issues

at stake and testify before the Committee. Predictably, their cowardly actions would be used



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to criticize both my principled position as well as President Trump himself, as illustrated in

this news coverage of a comment from the Committee’s Chair Bennie Thompson: “A person

close to the Trump family told CNN the former President’s children never saw a reason not to

cooperate with the committee because none of them felt appearing before the panel put them

at any risk.20...In his interview with CNN, Thompson questioned why the former President did

not object to his family members testifying while key White House aides are now being held

in contempt of Congress by the House after refusing to testify, saying they had been instructed

by the President to claim executive privilege over their conversations. ‘“Now we have four

individuals who are being held in contempt of Congress because they were directed by the

President not to come. So they are under the bus, but his children are not. They came,”

Thompson said. “Now to me, that’s Donald Trump that we are discovering. It’s ‘do as I say,

but not do as I do.’ Do you understand? I say don’t go and testify, but when my children or my

in-laws are involved, you can go testify.’”21

       31.    As for Choice #3, complying with the subpoena but invoking my Fifth

Amendment rights, I believed that by doing so I would be undermining executive privilege in

a way every bit as dishonorable as Choice #2. To wit: I would be invoking the Fifth

Amendment rather than staunchly defending Executive Privilege.

       32.     With Choice #3, I also was keenly aware of the reputational harm that would

come because far too many Americans wrongly associate guilt with invoking the Fifth

Amendment.       As just one data point, a Morning Consult poll of 1993 registered voters

conducted May 10-14, 2018 found that 36% of respondents believed that invoking the Fifth

Amendment “usually implies the person is guilty.”22 Here, Justice Felix Frankfurter has

famously criticized those who believe the Fifth Amendment implies guilt: “Such a view does



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scant honor to the patriots who sponsored the Bill of Rights as a condition to acceptance of the

Constitution by the ratifying States. The Founders of the Nation were not naive or disregardful

of the interests of justice. ” Of course, no such admonition by Frankfurter would have been

necessary if the problem didn’t exist. United States v. Chase, 281 F.2d 225, 228 (7th Cir.

1960).

         33.   In this case, Justice Frankfurter might just as well have been criticizing the Chair

of the Committee Bennie Thompson for unlawfully judging – and publicly branding -- anyone

who invoked the Fifth Amendment during testimony before his Committee as guilty indeed.

In a public statement on December 2nd, 2021 illustrating the unconstitutional punitive nature of

a Committee that is supposed to be pursuing a non-punitive legislative agenda and exposing

the “judge, jury, and executioner” judicial function mindset of the Committee, Thompson

baldly asserted that those who appear before his Committee and invoke their Fifth Amendment

privilege against self-incrimination are “part and parcel guilty to what occurred.” Tim Hains,

Jan. 6 Committee Chairman Bennie Thompson: If You Plead The Fifth, You’re “Part &

Parcel Guilty, Real Clear Politics, Dec. 2, 2021.23

         34.   Having worked hard my entire life to live honorably with a reputation for

honesty, I was not inclined to invoke the Fifth Amendment in a demonstration of

gamesmanship to avoid a contempt charge. Nor was I going to be tainted with the charge of

“guilty until testifying” in the ugly game Thompson and the Committee were obviously

playing.

         35.   Finally, I note that I was aware at this time of a critical decision I would have to

make that if I were to bend to the Committee’s coercive will. To wit, I would not only be

undermining the institution of executive privilege and its critical role in the separation of



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powers. I would be weakening the companion institution of testimonial immunity for senior

White House advisers.

       36.    While there has been at least some case law arguing for a qualified rather than

absolute executive privilege – the law remains unsettled – history and the law on testimonial

immunity has leaned far closer to the absolute end of the spectrum. For example, the Office of

Legal Counsel in the Department of Justice (OLC) has long contended, dating back more than

50 years, that such immunity is absolute; and there is no settled law to the contrary. “Since

the 1970s, this Office has consistently advised that ‘the President and his immediate advisers

are absolutely immune from testimonial compulsion by a Congressional committee’ on

matters related to their official duties’” and "[t]he President and his immediate advisers-that is,

those who customarily meet with the President on a regular or frequent basis-should be

deemed absolutely immune from testimonial compulsion by a congressional committee.’

Indeed, this Office has endorsed that legal principle on more than a dozen occasions, over the

course of the last eight presidential administrations.” Memorandum For Pat A. Cipollone

Counsel To The President Re: Testimonial Immunity Before Congress of the Former Counsel

to the President, May 20, 2019.

       37.    Having made Choice #1 to honor the executive privilege invoked by President

Trump (and cognizant of the sanctity of absolute testimonial immunity), I responded to the

subpoena I had received in an email dated February 27, 2022 addressed to                    Senior

Investigative Counsel for the Committee, Dan George as follows: “Please be advised that

President Trump has invoked Executive Privilege in this matter; and it is neither my privilege

to waive or Joseph Biden’s privilege to waive. Accordingly, my hands are tied. Your best

course of action is to directly negotiate with President Trump and his attorneys regarding any



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and all things related to this matter.”

        38.   Note that I clearly assert in this email that the privilege is not my to waive, and I

clearly indicate the Committee should “directly negotiate with President Trump and his

attorneys.”

        39.   The court can also see in my response that I am anticipating a possible assault on

President Trump’s privilege by Joe Biden by clearly indicating that the privilege is not

Biden’s to waive either. In fact, the very next day, on February 28, 2022 I received a letter by

email from Deputy Counsel to the President Jonathan Su of the White House Legal Counsel’s

office advising me that President Biden “has decided not to assert executive privilege” as

regards to either my “testimony” or “documents” commanded by the Committee.”24

        40.   Even a cursory view of the case law, Executive Orders, and OLC opinions

indicates that Su’s bold assertion that Joe Biden has the legal authority to waive the privilege

of his immediate predecessor and the immunity of that’s predecessor’s senior advisers within a

matter of mere months of the transition of power is anything but settled law.

        41.   Upon receipt of the Su letter, I immediately wondered whether the Committee

had had somehow signaled to Su and the White House to take this action as a way of further

coercing me into bending to their will.    Here, it has been said that there are no conspiracies,

but there are also no coincidences while Occam’s Razor teaches us that the simplest

explanation is also the most likely. In this instance, the simplest explanation for the Su/Biden

correspondence is not that it was a coincidence but rather that the Committee either tacitly or

explicitly colluded with the White House to elicit this correspondence in a blatant attempt to

do an end run around due process and the law. If Joe Biden could strip Donald Trump of

executive privilege and me of testimonial immunity, then neither I nor any Trump senior



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White House adviser would have an excuse not to appear before the Committee – or so their

illegal and indefensible position would become.

       42.    My second thought upon receiving the Su letter was that no court of law would

find it reasonable to allow an incumbent president to strip his predecessor of executive

privilege within months of taking office no matter what fig leaf of a broader national interest

the incumbent might seek to cover its assault in. The chilling effect of such an action, if

upheld by the courts, would be tantamount to destroying executive privilege and testimonial

immunity as we know them as no future White House senior advisor or president would have

confidence in the privilege.

       43.    To make this point early, and it shall be made often, whatever vague

“extraordinary” “national interest” the Su letter cites in support of its half-baked assertions,

these concerns pale in comparison to the transformation of executive privilege and testimonial

immunity into partisan ping pong balls that provide no real assurances to future White House

advisers or presidents of the kind of confidentiality necessary to make sound decisions.

       44.    Within the context of strategic game theory, if the assault on Executive Privilege

and testimonial immunity by the Committee and the White House in this case are allowed by

this court, it will spell the end of both Executive Privilege and testimonial immunity as this

Republic has known them because we will quickly bear witness to a “repeatable game” in

which whichever party controls both the House of Representatives and White House, that

party will effectively weaponize Congress’s investigatory powers in ways designed to: (1)

punish political rivals and (2) deny individuals the opportunity to effectively run for political

office. Of course, this will all be done under the false flags of national emergency and

national security.



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       45.    If, in this case, the Committee and Joe Biden are able to effectively establish the

principle that an incumbent can strip his predecessor of both executive privilege and

testimonial immunity, just imagine what will happen to Joe Biden and his advisers if

Republicans win both the White House and House in 2024. In fact, I don’t need to imagine

this repeat of the strategic game. If I’m not dead or in prison, I will lead the charge.

       46.    On February 28th, after receiving Mr. Su’s correspondence and additional

correspondence from Mr. George, I reaffirmed to Mr. George that: “President Trump has

invoked Executive Privilege in this matter; and it is neither my privilege to waive or Joseph

Biden’s privilege to waive. Accordingly, my hands are tied.”

       47.    I would further subsequently note in a press release on March 26, 2021 that I

would honor whatever decision President Trump made in the matter and assist the Committee

in expediting the matter to the Supreme Court to settle the law on this controversy: “This is an

unprecedented partisan assault on executive privilege. The committee knows full well that

President Trump has invoked executive privilege and it is not my privilege to waive. If

President Trump waives the privilege, I would be happy to testify. It is premature for the

committee to pursue criminal charges against an individual of the highest rank within the

White House for whom executive privilege undeniably applies.           Until this matter has been

settled at the Supreme Court, where it is inevitably headed, the Committee should cease its

tactics of harassment and intimidation. I would be happy to cooperate with the committee in

expediting a review of this matter by the Supreme Court and look forward to arguing the

case.”25

       48.    After a more careful reading of the Su letter, it is clear, if not altogether obvious,

that the Biden White House does not directly seek to waive President Trump’s privilege in the



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matter. All Mr. Su is informing me of is that President Biden “has decided not to assert

executive privilege.” To believe that this waives the privilege invoked by President Trump,

one must make the leap that the decision by Biden not to invoke privilege is equivalent to

waiving the privilege invoked by Trump. This is not at all clear from the Su letter. In fact, Su

may be purposely opaque knowing the quicksand of unsettled law he has waded into. And it

may be useful to note as well that Su makes no reference to any case law that would indicate

Biden is seeking to hijack the Trump privilege. Yet, the Committee would be more than eager

to make this leap.

       49.    On March 28, 2022, the Committee voted unanimously (9-0) to recommend that

I, along with former Trump senior White House adviser Dan Scavino, be held in contempt of

Congress.

       50.    On April 4, the House Rules Committee voted along party lines, 9 Democrats for

to 4 Republicans against, to advance the contempt charge against me. 26

       51.    On April 6, the House of Representatives passed H.Res. 1037 virtually along

party lines by a vote of 220-203, with only two Republicans voting in the affirmative. 27 This

Resolution recommends to the United States Attorney for the District of Columbia that the

Plaintive “be proceeded against in the manner and form provided by law” for criminal

contempt of Congress, whereby this contempt charge carries with it a prison term of up to one

year and the confiscation of the Plaintiff’s of up to $100,000.

       52.    The Supreme Court has long recognized that due process protections apply to all

congressional investigations. Watkins v. United States, 354 U.S. 178,188 (1957); Quinn v.

United States, 349 U.S. 155,161 (1955).      The Committee had its own duty to honor due

process and attempt such negotiations with President Trump in good faith – and thereby avoid



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obvious bill of attainder complications. Negotiations was the least burdensome (punitive)

alternative at the Committee’s disposal while a civil suit was the next least burdensome

alternative. Instead, the Committee pursued the most burdensome (punitive) alternative of a

criminal contempt of Congress charge.

My Subpoena Was Not Issued by a Duly Authorized and Properly Constituted
Committee and is Unenforceable

       1.    Duly authorized congressional committees have subpoena authority implied by

Article I of the Constitution. McGrain v. Daugherty, 273 U.S. 135, 174 (1927). The

Committee is not a duly authorized or properly constituted congressional committee because it

fails to comport with House Resolution 8 117th Cong. (2021)28 and its own authorizing

resolution, House Resolution 503 117th Cong. (2021).29

       2.    Section 3(b)(1) of H.Res. 8 provides: “During the One Hundred Seventeenth

Congress, the chair of a standing committee…upon consultation with the ranking minority

member of such committee, may order the taking of depositions, including pursuant to

subpoena, by a member or counsel of such committee.” [emphasis added] By H.Res 8,

consultation with the ranking minority member is therefore a necessary condition for the

issuance of any subpoena by the Committee.

       3.    Section 5 (c) (6)(A) of H. Res. 503 states: “The chair of the Select Committee,

upon consultation with the ranking minority member, may order the taking of depositions,

including pursuant to subpoena, by a Member or counsel of the Select Committee, in the same

manner as a standing committee pursuant to section 3(b)(1) of House Resolution 8, One

Hundred Seventeenth Congress.” By H.Res 1037, consultation with the ranking minority

member is likewise a necessary condition for the issuance of any subpoena by the Committee.




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       4.      Section 2(a) of H. Res. 503 states that “The Speaker shall appoint 13 Members

to the Committee, 5 of whom shall be appointed after consultation with the minority leader.”

       5.      Presumably, the minority leader would propose five members of his own party

under Section 2(a) of H. Res. 503 so that the partisan balance would reflect an albeit still

partisanly skewed 13-5, near three-to-one Democrat majority on the Committee.

       6.     Upon passage of H.R. 503, Speaker Pelosi appointed Bennie Thompson to serve

as Chair of the Select Committee along with six additional Democrat members: Rep. Zoe

Lofgren of California, Rep. Adam Schiff of California, Rep. Pete Aguilar of California, Rep.

Stephanie Murphy of Florida, Rep. Jamie Raskin of Maryland, and Rep. Elaine Luria of

Virginia.30

       7.     Following the instructions of H.R. 503, House Minority Leader Kevin McCarthy

recommended Rep. Jim Banks of Indiana, to serve as minority ranking member of the

Committee.31 However, Pelosi refused to seat Banks; and the Committee has no ranking

minority member despite the requirement of H.Res. 503 that it should and the requirements

imposed by H.Res 8 for the issuance of valid subpoenas.

       8.     Minority Leader McCarthy also recommended to Pelosi the appointment of four

additional Republican members to serve as minority members on the Select Committee –

Illinois’ Rodney Davis: Ohio’s Jim Jordan, North Dakota’s Kelly Armstrong, and Texas’

Troy Nehls. None were appointed by Pelosi.

       9.     If Pelosi had simply appointed the members recommended by McCarthy along

with Banks as ranking minority member, this would have met the requirements of H.Res. 503 to

have a 13-member commission with five minority representatives and a ranking minority

member.32 Instead, without the consultation of McCarthy, again in contradiction to H.Res.



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503, Pelosi appointed Illinois’ Adam Kinzinger and Wyoming Liz Cheney—two Republicans

with clear animus against President Trump.

       10.     The Committee’s failure to comport with Section 2(a) of H.Res. 503 is evident

in: (1) the failure of House Speaker Nancy Pelosi to appoint the proper number of members (9

instead of 13); (2) an even more skewed 7-2 ratio of Democrats to Republicans instead of the

8-5 ratio called for by H.Res. 503; (3) the failure of Pelosi to consult with Minority Leader

Kevin McCarthy prior to the seating of the two titular Republicans on the Committee, neither

of which were proposed by McCarthy; (4) the absence of a ranking minority member; and (5)

the rejection by Pelosi of all five members, including a ranking minority member, proposed by

McCarthy.

       11.     The Committee’s failure to comport with Section 3(b)(1) of H. Res. 8 as well

as Section 2(a) of H. Res. 503 is evident in the fact that of those nine members Speaker Pelosi

appointed to the Committee, none were appointed after consultation with the ranking minority

member as required by the authorizing resolutions.

       12.   Since Speaker Pelosi allowed no ranking minority member on the Committee

there is no ranking minority member to “consult” with and therefore the Chair may not “order

the taking of depositions” “pursuant to subpoena.”

       13.   Absent a ranking minority member, the Committee has no legal authority to duly

issue, much less legally enforce subpoenas and advance resolutions finding private citizens in

contempt of Congress for refusal to comply with the illegal subpoenas issued by the Select

Committee.

       14.   The absence of a ranking minority member on the Committee alone is sufficient

for this court to rule that all of the Committee’s subpoenas are invalid. Chairman Thompson



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derives the authority to issue subpoenas from both H.Res. 8 and H.Res. 503 Section 5(C)(6)(A)

of the Committee’s authorizing statute, but these authorities are qualified, not absolute. The

Committee chairman may not order the taking of depositions without consultation with the

ranking minority member of the Committee.

       15.     As the Committee has no ranking minority member, Chairman Thompson

failed to make the requisite consultation before issuing the subpoena to me. The subpoena thus

runs afoul of the Committee’s authorizing resolution as well as H.Res. 8, making it invalid and

unenforceable; and my failure to comply with the Committee’s subpoena cannot be grounds in

H. Res. 1037 for holding me in contempt of Congress.

       16.     In a public statement, Pelosi acknowledged she had taken an “unprecedented

decision”33 in establishing what amounts to nothing more than a highly partisan and score-

settling kangaroo court of a Committee with a fig leaf of Republican membership, no ranking

minority member, and four empty seats in clear violation of the specifications of H R 503 for

a duly authorized and properly constituted committee.

       17.     Congress’ failure to act in accordance with its own rules is judicially

cognizable. Yellin v. United States, 374 U.S. 109, 114 (1963). This is particularly significant

where a person’s fundamental rights are involved.

       18.     In this case, former senior White House officials, including myself, have been

held in contempt of Congress on the basis of invalid and unenforceable subpoenas from a

Committee that is neither duly authorized nor properly constituted yet we face possible

imprisonment of up to one year and a significant confiscation of personal property in the

forms of up to $100,000 in fines and the substantial cost burden of legal representation.




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The Legislative Acts of the Committee and H.Res 1037 Violate the Principle of
Separation of Powers Because They Also Seek To Fulfill a Judicial Function


       1.     A key controversy before this court in this case for which there is no settled law

is this If a Congressional entity such as the Committee is pursuing an investigation under the

Constitutional flag, and behind the shield of, what appears to be a facially valid legislative

function, is it also then free to use that investigation and its subpoena powers to

simultaneously pursue an illegitimate judicial function that violates the principle of separation

of powers?      Here, it should be obvious that the presence of a facially valid legislative

function does not rule out the presence of a punitive judicial function      the pursuit of these

legitimate legislative and illegal judicial functions can occur simultaneously.

       2.     The Constitution contains no provision explicitly declaring that the powers of

the three branches of the federal government shall be separated yet the principle of separation

of powers is implicit in its construction: Article I vests all legislative powers in the Congress;

Article II vests executive power in the president, and Article III vests judicial power in one

supreme Court, and in such inferior Courts as the Congress may from time to time ordain and

establish.

       3.     Congress has no enumerated constitutional power to conduct investigations or

issue subpoenas.      For a Congressional Committee to duly issue valid and enforceable

subpoenas in the course of an investigation – and by extension, seek contempt charges against

those who fail to comply with such subpoenas -- that investigation must have a valid and non-

punitive “legislative function.”34

       4.     Congress’ power to investigate is limited because it is "justified solely as an

adjunct to the legislative process."35 McGrain v. Daugherty, 273 U.S. 135 (1927). (emphasis



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added).

          5.   A hallmark of the judicial function is the power to punish.         “The power

to punish is inherent in the courts.” United States v. Landes, 97 F.2d 378, 381 (2d Cir. 1938).

          6.   To ensure the principle of separation of powers, Congress has no judicial power

and therefore does not have the power to investigate in pursuit of a judicial function and

“inflict punishment.” Barenblatt v. United States, 360 U.S. 109, 153-54 (1959).

          7.   The Committee and its members have “no Congressional power to expose for

the sake of exposure” Watkins v. United States, 354 U.S. 178, 200 (1957). Exposing for the

sake of exposure represents an unlawful exercise of judicial power and seeks to perform a

judicial function because, in causing such results as shame, banishment, humiliation, or

ostracization, such exposure administers various forms of punishment. Barenblatt v. United

States, 360 U.S. 109, 153-54 (1959). Justice Black notes “There is nothing strange or novel

about this kind of punishment. It is in fact one of the oldest forms of governmental punishment

known to mankind; branding, the pillory, ostracism and subjection to public hatred being but a

few examples of it. Nor is there anything strange about a court's reviewing the power of a

congressional committee to inflict punishment. Barenblatt v. United States, 360 U.S. 109, 153-

54 (1959) [emphasis added]

          8.   The courts have never firmly addressed the controversy of whether a

Congressional investigation should be invalidated if that investigation represents a

simultaneous exercise of both a facially valid legislative function and an unconstitutional and

unlawful judicial function. Yet, as the frequency and intensity of overtly partisan and

weaponized Congressional investigations have accelerated in the vacuum of settled law in this

matter, it is a question and controversy that begs for this court’s wisdom. To borrow a phrase



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from Trump v. Mazars, this case, the hallmark of which is Speaker Pelosi’s frank admission of

the overtly partisan construction of an “unprecedented” Committee, “represents a significant

departure from historical practice.” Trump v. Mazars U.S., LLP, 140 S. Ct. 2019, 2031 (2020).

Accordingly, this case and controversy by Pelosi’s own words invites the court to settle the

law and thereby set precedent.

       9.    Historically, the courts have been reluctant to dive into the deep end of this

separation of powers pool in their relatively few rulings on the subpoena power of Congress.

For example, the Comm. On Ways & Means v. U.S. Dep't of Treasury notes that “[a] long line

of     Supreme       Court       cases    requires     great     deference      to     facially

valid congressional inquiries.” Comm. On Ways & Means v. U.S. Dep't of Treasury, 1:19-cv-

01974 (TNM), at *1 (D.D.C. Dec. 14, 2021). [emphasis added]36

       10.   The reluctance of the courts to pierce the veil of a facially valid legislative

function and find a companion unconstitutional judicial function has been attributed in part to

the ‘hurly burly’ nature of politics. As Trump v. Mazurs notes: “The question presented is

whether the subpoenas exceed the authority of the House under the Constitution. Historically,

disputes over congressional demands for presidential documents have not ended up in court.

Instead, they have been hashed out in the "hurly-burly, the give-and-take of the political

process between the legislative and the executive." Hearings on S. 2170 et al. before the

Subcommittee on Intergovernmental Relations of the Senate Committee on Government

Operations, 94th Cong., 1st Sess., 87 (1975) (A. Scalia, Assistant Attorney General, Office of

Legal Counsel). Trump v. Mazars U.S., LLP, 140 S. Ct. 2019, 2029 (2020)

       11.   The unwillingness of the Courts to look beyond facially valid congressional

investigations may have been tolerable within the context of the balance of power within the



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three branches of government in prior times. However, over time, the setting of this low,

facially valid legislative function bar to the exclusion of the possibility that a judicial function

is simultaneously and unconstitutionally being pursued has been an open invitation for

legislators to pursue just such a judicial function under the false flag, and behind the shield of,

their legislative function.

        12.   The result of the court’s silence in this matter is now clear: Repeated abuses by

partisans and political score settlers like those on the Committee have institutionalized a

partisan weaponization of Congress’ investigatory powers that now threatens the delicate

balance and separation of powers between the legislative, judicial, and executive branches of

our government.

        13.   In considering whether to address this controversy in this case, the court should

indeed take Speaker Pelosi at her word when she describes the formation of the Committee as

“unprecedented.” It is indeed unprecedented for Congress to form a rabidly partisan and score-

settling congressional committee that has no minority ranking member and fails to abide by its

own authorizing resolution. It is equally unprecedented to allow this Committee to wield such

powerful investigatory powers in pursuit of a judicial function behind the flag and shield of a

facially valid legislative function.

        14.   While the courts have been loathe to address the controversy before us, they

have not been entirely silent on the matter. For example, Tenney v. Brandhove, 341 U.S. 367,

377-78 (1951) opens the door to new precedent when it opines “To find that a committee's

investigation has exceeded the bounds of legislative power it must be obvious that there was a

usurpation of functions exclusively vested in the Judiciary or the Executive.” In Tenney v.

Brandhove, such usurpation was not “obvious.” However, as shall be demonstrated with a



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review of the legislative history of the Committee and its members below, this is a case where

such an usurpation is overwhelmingly and painfully obvious.37

       15.    With regard to the importance of “legislative history,” the courts have deemed

the “legislative history” of any given investigation to be a critical factor in assessing the

validity of a Committee’s investigatory powers. In Barenblatt v. United States, for example,

the court references “[i]n the light of the Committee's history” to rule “legislative authority”

“unassailable”.38 The case likewise refers to the “persuasive gloss of legislative history”39 and

also uses the phrase “In light of the legislative history.” Barenblatt v. United States, 360 U.S.

109, 153-54 (1959).

       16.    Building on Barenblatt, Nixon v. Administrator of General Services establishes a

“legislative history” test to probe for the unconstitutional presence of the judicial function. It

urges us to ask in that case whether the “legislative history” indicates if “the Act before us is

regulatory [legislative] and not punitive in character?" 408 F. Supp., at 373 Nixon v.

Administrator of General Services, 433 U.S. 425, 478 (1977).

       17.    In this case, the legislative history of the Committee and its members reveals an

overwhelmingly “obvious” pattern of the weaponization of Congress’ investigatory powers to

pursue a punishing judicial, and by implication, a political function. As Justice Black might

say today “It seems to me that the proof that the ... Committee is here undertaking a purely

judicial function is overwhelming” Barenblatt v. United States, 360 U.S. 109, 154 (1959).

       18.    The “overwhelming” and “obvious” proof in this case is embodied a legislative

history dating back more than five years that demonstrates the repeated attempts of the

Speaker of the House and the members of the Committee to publicly shame, humiliate, banish,

ostracize, and possibly even imprison President Trump by trying him in their various kangaroo



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courts and legislative acts. Through such exposure for the sake of exposure, they have incited

public hatred and thereby punished Trump by harming his re-election chances in 2020 even as

they have sought repeatedly to remove him outright from office and prevent him from either

legally or practically from ever occupying the Oval Office again by running in, and winning,

the 2024 election. This sordid record of the Committee and its members has been nothing

more and nothing less than the pursuit of a judicial function behind the mask and shield of a

facially valid legislative function. As McGrain v. Daugherty once warned in another context

“[t]he committee has assumed all of the functions of prosecutor, judge and jury with

apparently none of the customary rules governing evidence and procedure. ” McGrain v.

Daugherty, 273 U.S. 135, 145 (1927).

       19.    The legislative history of the Committee itself reveals its clear partisan and score-

settling intent to punish and humiliate President Trump in the course of its investigation and in

pursuit of a judicial function.

       20.    On May 14, 2021, Democrat Congressman Bennie Thompson introduced H.R.

3233, a bicameral bill to establish a ten-member commission to investigate the January 6th

assault on the Capitol requiring approval of both the House and Senate.40 This commission,

by legislative design, would have struck a very clear bipartisan 5-5 balance. It was to consist

of five members appointed by Democrats, five members appointed by Republicans, a

Democrat Chair and a Republican Vice-Chair.41

       21.    While H.R. 3233 passed the House on May 19, 2021 by a 252 – 175 vote , it

failed in the Senate when a cloture motion failed by a vote of 54 yeas to 35 nays. 42 In

response, on June 28, 2021, Speaker Pelosi took the Senate out of the equation – and therefore a

bicameral approach to the proposed investigation – by next introducing a simple House



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Resolution requiring only the approval of the House she controlled.

        22.    Pelosi’s Democrat-controlled House passed H. Res. 503 on May 21, 2021 on a

virtually party-line 222-190 vote.43 Only two Republicans, Rep. Liz Cheney of Wyoming and

Rep. Adam Kinzinger of Illinois – both with scores to settle against Donald Trump – voted in

favor of H. Res. 503.       Each would wind up on the Committee as the only two titular

Republicans.

        23.    H. Res. 503 offers a very sharp partisan, one-legislative-chamber contrast to the

bipartisan, bicameral construction of H R 3233 As has been demonstrated, instead of a

commission evenly split between Democrats and Republicans, H. Res. 503 specifies the

creation of a highly partisan and score-settling Committee intent on punishing and humiliating

President Trump, inciting public hatred, and ensuring he never becomes president again through

the exercise of an illegitimate and unconstitutional judicial function.

        24.    Just as this Committee has a sordid legislative history offering obvious and

overwhelming proof that it “is undertaking a purely judicial function,” Barenblatt v. United

States, 360 U.S. 109, 154 (1959), so, too, does the far broader legislative history of the

Committee members reveal a clear intent to simultaneously pursue a judicial cum political

function rather than a purely legislative function. This legislative history spanning a period of

more than five years reveals at least seven additional legislative acts along with a “Russia

Hoax” perpetrated by Committee members seeking to shame, humiliate, and banish President

Trump from office while inciting public hatred of Trump and, by implication, Trump’s

advisers. These seven legislative acts include:

          a. H.Res. 1987, introduced on April 6, 2017 and sponsored by Committee member

               Jamie Raskin, would have established in the legislative branch an Oversight



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     Commission on Presidential Capacity to determine whether the President is

     mentally or physically unable to discharge the powers and duties of office. 44 Its

     clear target was Trump, and the clear goal was to remove him from office;

  b. H.Res. 496, introduced on August 18, 2017, “censures and condemns President

     Trump for his inadequate response to the violence in Charlottesville, Virginia,

     on August 12, 2017, for his failure to condemn the White supremacist groups

     responsible for actions of domestic terrorism, for asserting that "both sides" were

     to blame and excusing the violent behavior of participants in the Unite the Right

     rally, and for employing people with ties to White supremacist movements in the

     White House. 45 It also urges President Trump to fire all White House advisors

     who have urged him to cater to the White supremacist movement;”46

  c. H.Res. 660, introduced on October 29, 2019 as part of the first impeachment

     trial of President Trump,47 directed “certain committees to continue their

     ongoing investigations as part of the existing House of Representatives inquiry

     into whether sufficient grounds exist for the House of Representatives to

     exercise its Constitutional power to impeach Donald John Trump, President of

     the United States of America, and for other purposes;”48

  d. H.Res. 755, introduced on December 10, 2019, impeaches President Donald J.

     Trump for high crimes and misdemeanors. The resolution sets forth two articles

     of impeachment of the President: (1) abuse of power by soliciting the

     interference of Ukraine in the 2020 U.S. presidential election, and (2)

     obstruction of Congress by directing defiance of certain subpoenas issued by the

     House of Representatives;49



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         e. H.Res. 8548, introduced on October 9, 2020 and sponsored by Committee

             member Jamie Raskin, would have established in the legislative branch a

             Commission on Presidential Capacity to Discharge the Powers and Duties of the

             Office to determine whether the President is mentally or physically unable to

             discharge the powers and duties of office;50

         f. H.Res.24, introduced on January 11, 2021, impeaches President Donald John

             Trump for high crimes and misdemeanors.              It sets forth an article of

             impeachment stating that President Trump incited an insurrection against the

             government of the United States;51 and

         g. H. Res. 21, introduced on January 11, 2021 by Committee member Jamie

             Raskin, calls upon Vice President Michael R. Pence (1) to immediately use his

             powers under section 4 of the Twenty-fifth Amendment to convene and mobilize

             the principal officers of the executive departments to declare that the President is

             unable to successfully discharge the duties and powers of his office, and (2) to

             transmit to the President pro tempore of the Senate and the Speaker of the House

             notice that he will be immediately assuming the powers and duties of the office

             as Acting President.52

       25.   As to how each of the members of the Committee participated in one or more of

these legislative acts (and otherwise demonstrated anti-Trump behavior), the Chair of the

Committee, Bennie Thompson, voted “yes” on H. Res. 660,53 he cosponsored H. Res. 49654

condemning and censuring President Donald Trump, voted yes on both impeachment trials 55

and did not show up at President Trump’s inauguration in 2016.56 Indicating his desire to

punish the president with his removal from office, Thompson has described President Trump



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as “racist and unfit to serve.” 57

        26.    Committee member Jamie Raskin cosponsored both H. Res. 66058 and H. Res.
                                                   60
496,59 voted “yes” on both impeachment trials,          and was the lead House Impeachment

Manager for the second impeachment trial.61 Raskin also authored H. Res. 21,62 H.Res 1987,63

and H.Res. 8548.64 In 2018, Raskin set up a panel of mental health experts to publicly

discuss the president’s mental fitness,65 has referred to Trump as “a barbarian,”66

consistently questioned Trump’s mental capacity,67 repeatedly pushed the phony Russia

hoax,68 and, revealing his clear intent to use Congress’ investigatory powers for a judicial

function, publicly stated that “We have to come up with a legislative mechanism for calling a

president to account if he decides to turn the White House into a for-profit enterprise. We

cannot allow that precedent to stand.”69

        27.    Committee member Adam Schiff voted "yes" on H.Res. 660,70 was the

lead investigator for the first Trump impeachment trial of President Trump,71 and voted

yes for both impeachments.72 He also cosponsored H. Res. 21.73

        28.    Committee member Zoe Lofgren voted “yes” on H. Res. 660, 74 cosponsored H.

Res. 24,75 and H.R. 1987, 76 and voted “yes” on both impeachment trials. 77 In 2017, Lofgren

served as a member of the Democracy Reform Taskforce that claimed President Trump had

"shown blatant disregard for the laws and norms in place to prevent public corruption."78

Lofgren also boycotted the inauguration of President Trump in 2017. 79 In revealing her desire

for Congress to wield more judicial power, she opined that Congress needs “more enforcement

authority.”80 She also introduced a resolution urging a “medical and psychiatric evaluation of

US President Donald Trump.”81 Illustrating her desire to publicly humiliate and shame the

president and incite public hatred, Lofgren stated that “POTUS is an ignorant bigot trying to



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delegitimize duly elected Members of Congress based on ethnicity and gender. President

Trump shames our country.”82 That Lofgren wants to use the investigatory and impeachment

powers of Congress to serve a judicial function and thereby, in the ultimate punishment, end

the political career of President Trump is evident in her saying that it “was both constitutional

and necessary to impeach and convict former President Trump...and to disqualify him from

holding future office.83

       29.    Committee member Elaine Luria voted “yes” on H.Res. 660,84 cosponsored

H.Res. 24,85 voted “yes” on both Trump impeachments, 86 and boycotted Trump’s 2020 State

of the Union address.87 That she has not hesitated to sit as both judge and jury of President

Trump in her quest to inflict punishment upon the president is evident in remarks about Trump

such as “"It is clear to me that he has betrayed the public trust and abandoned his obligations

to the Constitution by elevating his own interests over the national interest. Allegations of this

gross misconduct meet the threshold of high crimes and misdemeanors set by the

Constitution.”88

       30.    Committee member Pete Aguilar likewise voted “yes” on both impeachments89

and cosponsored H.Res. 2490 which initiated the second impeachment. He also voted “yes” on

H.Res. 660. 91 In acting as judge and jury in the second impeachment trial, Aguilar insisted as

if it were fact that “The fact is that President Trump attempted to use the power of his office to

coerce a foreign government to interfere in an American election.”92 This was not a fact at all;

it was merely an accusation designed to punish and humiliate.

       31.    Committee member Stephanie Murphy voted “yes” on H.Res. 66093 and both

impeachments94 while cosponsoring H Res 24       95
                                                      In a May 22, 2019 letter “My Thoughts on

Impeachment,” Murphy clearly expresses her intention to use the investigatory powers of



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Congress in a judicial function to coerce and punish not just President Trump but “anyone in

his administration” that dares to defy a congressional subpoena: “Should President Trump or

anyone in his Administration ignore a final federal court order to turn over information that

Congress has requested, I would consider it a threat to our careful system of checks and

balances and would therefore support an impeachment inquiry on that individual—the first

step in the impeachment process and one that better empowers congressional investigators to

attain documents and testimony.”96 [emphasis added]

        32.   Key Committee members were also instrumental in perpetrating a now deeply

discredited “Russia Hoax.”97 This was the spurious and now discredited claim that the 2016

Trump Campaign colluded with Russia to defeat Hillary Clinton and that Russia preferred

Trump over Clinton because Russian intelligence operatives had damning evidence they could

use to blackmail Trump once he ascended to the Oval Office. 98

        33.   The alleged “facts” of the Russia Hoax turned out to be a fiction ginned up by

Democrat operatives paid by the Clinton campaign. These operatives, most prominently

former British intelligence officer Christopher Steele, created a phony “Steele Dossier”99 that

created the false Russia Hoax narrative. The FBI would then use this dossier to bogusly obtain

Foreign Intelligence Surveillance Warrants (FISA) warrants to spy on members of the Trump

campaign. As events unfolded, the whole hoax itself would be given institutional credence by

a series of false statements.100

        34.   Committee member Adam Schiff was the de facto leader in Congress

pushing the Russia hoax and a primary source of false statements, to the point of

being caught repeatedly in lies during his public appearances.101 Upon becoming

House Intelligence Committee Chairman in 2019, Schiff hired investigators and other



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personnel to launch the Russia Hoax investigation, and later expanded a probe into

President Trump "beyond Russia" to investigate Trump's connections to other foreign

countries.102

         35.    The Chair of the Committee, Bennie Thompson created a task force in 2017 as

part of the perpetuation of the Russia hoax.103

         36.    This lengthy legislative history likewise illustrates how Speaker Pelosi has

sought to weaponize the investigatory powers of Congress in pursuit of a judicial function

aimed at the punishment of Donald Trump and senior advisers such as myself. Pelosi called

for an FBI probe in February 2017 into President Trump’s alleged financial and personal ties

to the Russian government as part of the perpetuation of the Russia hoax and called for a

second investigation in October 2017.104 She endorsed the push to censure President Trump

after events in Charlottesville.105 She voted yes to impeach President Trump twice and

oversaw the second impeachment trial In 2020, Pelosi backed H R 8548 106 and is the chief

architect of and catalyst for her own “unprecedented” Committee now seeking to punish and

humiliate President Trump and incite public hatred against Trump, and by implication, Trump

advisers such as myself.107

         37.    As perhaps the most graphic illustration of how Pelosi and committees such as

the Committee in this case are pursuing a highly punitive judicial cum political function,

Pelosi was caught in a private meeting saying that “I do not want to see him impeached, I want

to see him in prison.”108 She has described the President, himself, as “a hoax.”109 [emphasis

added]

         38.    From this broad, dynamic review of the legislative history, it should be clear that

for more than five years, the American Republic has been cursed with various Democrat



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kangaroo courts and legislative acts in pursuit of a judicial cum political function often with

the same Democrat kangaroos running those courts and sponsoring those acts.

       39.    In this case, Speaker Pelosi, along with all seven Democrat members of the

Committee, have yet again established a kangaroo court that has empowered them to act as

judge, jury, and executioner through a judicial function replete with (1) multiple forms of

punishment aimed at shaming, humiliating, banishing, ostracizing, and inciting public hatred;

(2) the removal of President Trump from office; and (3) the punishing, including possible

imprisonment, of his most trusted senior advisors.       This is all being done through the

unconstitutional weaponization of Congress’ subpoena power and resultant punishment,

coercion, and threats.

       40.    The two Republican members of the Committee have a similar, albeit shorter,

legislative history that reveals the score-settling nature of their assaults on President Trump

and his advisors through the weaponization of the Committee’s investigatory powers Both Liz

Cheney and Adam Kinzinger voted “yes” on the second impeachment trial of Donald Trump

while Kinzinger repeatedly sided with the Democrats on the Russia hoax. Kinzinger also

publicly issued a statement asking President Trump to delete his Twitter account in

December 2020 after President Trump was calling for investigations into the 2020

election.

       41.    For his anti-Trump activities, Kinzinger was forced out of running for

reelection by the subsequent backlash, holds Trump responsible and clearly has a score to

settle with Trump. In addition, Kinzinger is also considering a run for president so the

elimination of the frontrunner Trump in the 2024 election through punishment and humiliation

would be in Kinzinger’s self-interest.110



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       42.   Liz Cheney is a long-term foe of President Trump because of Trump’s perennial

criticism of Cheney’s father; Vice President Dick Cheney.        According to Trump, Vice

President Cheney played a major role in prosecuting the “endless wars” of Afghanistan and

Iraq, wars that killed hundreds of thousands of people and drained trillions of dollars of

treasure from our Republic.111

       43.   That Cheney, along with the Chair Bennie Thompson, seek to use the

Committee’s subpoena power in a judicial function in violation of the principle of separation

of powers is evident in their public statements that the purpose of their investigation is to

ensure “those responsible are held accountable,”112 to “tell the complete story of the

unprecedented and extraordinary events of January 6th,”113 and to “get answers for the

American people about what happened on January 6th.”114 The Law Enforcement Experience

on January 6th: Hearing Before the H. Select Committee to Investigate the January 6th Attack

on the United States Capitol, 117th Cong. (2021) Statement of Elizabeth Cheney, Vice-

Chair); Press Release, Thompson & Cheney Statement on Pentagon Officials’ Reported

Actions After January 6th (Sept. 16, 2021); Press Release, Thompson Statement on

Cooperation of Witnesses (Oct. 14, 2021).

       44.   This lengthy legislative history spanning a period of nearly five years reveals

obvious, overwhelming, and indisputable proof that Speaker Pelosi and members of the

Committee have a well-established pattern of seeking to weaponize the investigatory powers

of Congress behind the mask and shield of facially valid legislative acts while simultaneously

pursuing punitive, unconstitutional judicial agendas.    In this case, the clear arc of the

Committee’s investigation has to been to build a criminal case against President Trump while

four of the president’s most senior advisers have been held in contempt and face possible



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prison terms and fines.

       45.    Given that this Committee and its members been so clearly flushed out in the

open in its pursuit of a judicial function by their legislative history, it is incumbent upon this

court to address the controversy presented in this case. To put this in a more textured, policy-

analytic way, a clear controversy to be settled in this case by this court is whether there is a

threshold above which the simultaneous exercise of a judicial function is sufficient to render

illegal any legislative acts taken under the flag, and behind the shield of, the facially valid

legislative function. Considering the facts presented in this case, no reasonable court would

deny the need for such a threshold balancing test. Nor, upon review of an abundance of

evidence of a judicial cum political function of the Committee, would a reasonable court deny

that in this case, that threshold has been more than exceeded.

       46.    It is incumbent upon this court therefore to take Speaker Pelosi at her word. To

recap, Pelosi has described the formation of this kangaroo court of a Committee as

“unprecedented”;115 and it is indeed unprecedented for a rabidly partisan and score-settling

congressional Committee that lacks no ranking minority member and fails to abide even by its

own authorizing resolution to wield such powerful investigatory powers in pursuit of a judicial

function behind the mask and shield of a facially valid legislative function.          With her

“unprecedented” pronouncement, Pelosi thereby has invited this court to establish new

precedent in a new time where the weaponization of Congress’ investigatory powers for

judicial ends threatens to become the new norm , thereby upsetting balance of power among

the three major branches of government.

       47.    As a private citizen and a former senior advisor to President Trump, I stand as

collateral damage from the unlawful and unconstitutional efforts of Speaker Pelosi and the



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Committee members to incite public hatred, punish through shame, humiliation, ostracization,

and banishment, and perhaps even imprison Donald Trump and many of those like me

associated closely with him.

       48.   I am seventy-two years old. I have spent my entire career in some form of

public service – from the Peace Corps and more than twenty-five years as a professor at the

University of California to my years in the White House. Through my White House service, I

can lay claim to saving thousands of American lives during the pandemic, helping President

Trump create millions of jobs, and addressing numerous national and economic security issues

related to the economic aggression of Communist China. At this stage in my career, I should

be allowed to retire with all of the thanks and honors and dignity and grace normally afforded

people with such a resume. Instead, I have been hauled before the Committee’s kangaroo

court, subjected to public hatred, and been forced to endure all the other punishments they can

muster with their false accusations and threats of criminal prosecution. Only by squarely

addressing the controversies in this case and by granting the declaratory and injunctive relief

that I seek will this punishment cease and be redressed.

The Committee’s Subpoena and Report 117-284 and H.Res. 1037 Violate the
Constitutional Proscription Against Bills of Attainder


  1. Article I, Section 9, Clause 3 of the Constitution states that “No Bill of Attainder …

      Law shall be passed.”

  2. Nixon v. Administrator of General Services defines a bill of attainder as “a law that

      legislatively determines guilt and inflicts punishment upon an identifiable individual

      without provision of the protections of a judicial trial.” See United States v. Brown, 381

      U.S. 437, 445, 447 (1965); United States v. Lovett, 328 U.S. 303, 315-316 (1946); Ex



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   parte Garland, 4 Wall. 333, 377 (1867); Cummings v. Missouri, 4 Wall. 277, 323

   (1867). Nixon v. Administrator of General Services, 433 U.S. 425, 468-69 (1977).

3. United States v. Lovett notes the need for a liberal interpretation of what constitutes a

   bill of attainder: “(a) The Bill of Attainder Clause , Art. I, § 9, cl. 3, was intended to

   implement the separation of powers among the three branches of the Government by

   guarding against the legislative exercise of judicial power . Pp. 441-446. (b) The Bill of

   Attainder Clause is to be liberally construed in the light of its purpose to

   prevent legislative punishment of designated persons or groups. Cummings v. Missouri,

   4 Wall. 277; Ex parte Garland, 4 Wall. 333; United States v. Lovett, 328 U.S. 303. Pp.

   447-449.” [emphasis added]

4. United States v. Brown makes clear that "[l]egislative acts, no matter what their form,

   that apply either to named individuals or to easily ascertainable members of a group in

   such a way as to inflict punishment on them without a judicial trial are bills of attainder

   prohibited by the Constitution.” United States v. Brown, 381 U.S. 437, 448 (1965).

   [emphasis added]

5. The Committee’s subpoena and along with the Committee’s Report 117-284 and H.

   Res. 1037 all represent forms of “legislative acts” under settled law. United States v.

   Brown, 381 U.S. 437, 448 (1965). Each of these legislative acts identifies me as a

   named individual; and each violates the Constitutional proscription against bills of

   attainder.

6. Historically,   common       bill   of     attainder   punishments      have     included

   “imprisonment, banishment, and the punitive confiscation of property by the sovereign.”

   Bellsouth Corporation v. F.C.C, 162 F.3d 678, 685 (D.C. Cir. 1998).116 In this case, I



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   face possible imprisonment of up to one year – more than one-fourth of my remaining

   expected life as well as the confiscation of up to $100,000 of my retirement savings, a

   significant share of those savings.

7. In this case, a Democrat-controlled House of Representatives has voted overwhelmingly

   along party lines117 on the basis of the Committee’s subpoena and the Committee’s

   Report 117-284 to hold me in contempt of Congress without the benefit of addressing

   Congress on this Resolution and without the benefit of a judicial trial. Furthermore, this

   legislative act has been taken based on an invalid and unenforceable subpoena that

   violates the principle of separation of powers and thereby falsely associates me with

   unpatriotic and treasonous efforts to overturn what Committee members insist was a fair

   election despite abundant evidence to the contrary, thereby inciting public hatred of me.

   Through these legislative acts, the Democrat-controlled House has thereby subjected me

   to the punishments of shame, humiliation, ridicule, banishment, public hatred, and

   ostracization at great reputational cost.

8. If the U.S. Attorney for the District of Columbia chooses to act on H.Res. 1037 and

   charge me with contempt of Congress – as has already been done in a similar case

   involving a former Trump senior adviser118 – I face significant additional punitive

   consequences in the forms of both imprisonment for up to one year and the punitive

   confiscation of my property, i.e., up to a $100,000 fine.

9. Even prior to, or absent any, any move to imprison and fine me by the U.S. Attorney,

   H.Res. 1037 is a punitive act of economic coercion and psychological terror designed to

   bully me into bending to the will of an illegally constituted Committee in

   unconstitutional pursuit of a judicial function.



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10. H.Res. 1037, in and of itself, represents economic coercion and a de facto confiscation

   of my personal property because in order to defend myself against this bill of attainder, I

   must either spend what may well add up to more than $100,000 on legal representation.

   Alternatively, as I have chosen, I must do the legal work pro se and thereby pay the

   substantial opportunity costs of the time I must use by writing this brief and

   representing myself.

11. In addition, the stigma and public hatred that has come from a contempt charge

   implying a treasonous attempt to overthrow an allegedly fair election has turned me into

   a pariah in many academic and corporate quarters and thereby cost me remunerative

   opportunities ranging from teaching, lecturing, and public speaking to appearing on

   otherwise Republican-friendly networks like Fox News, e.g., Fox has adopted a cancel

   culture policy of refusing to put pro-Trump people like me on the air who question the

   results of the November 3 and are associated, falsely or otherwise, with the events of

   January 6.     The loss of these remunerative opportunities has significant financial

   implications as teaching stipends and speaking fees have historically been important

   sources of my income stream while appearances on networks like Fox help promote the

   books and articles I write and thereby generate sales and royalties. Most broadly, the

   harm to my reputation has been incalculable.

12. It is well worth noting that a common political tactic used on both sides of the aisle is to

   engage in “lawfare” to tie up the time and resources of political rivals and possibly put

   them in jail. In this case, the Committee is simultaneously pursuing a judicial, rather

   than a purely legislative, function and brazenly violating the Bill of Attainder Clause in

   its efforts to ensnare Donald Trump and his most senior advisers in their tar pit of false



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   allegations, endless litigation, possible imprisonment, and the de facto confiscation of

   my personal property by necessitating expenditures on legal representation or incurring

   the opportunity costs of representing myself.

13. H.Res. 1037 as a legislative act represents a punitive psychological terror as well. At 72

   years old, a one-year prison sentence would indeed take more than a quarter of my

   remaining expected life – the average expected life of a male in America is 76 years 119 --

   while a $100,000 fine would confiscate a significant slice of my retirement nest egg. I

   do not look forward either to a prison cell or to having to choose between food or

   medicine as far too many American senior citizens must do just because an uber-

   partisan and score-settling kangaroo court decided to slap me with a bill of attainder and

   drain my pockets.

14. The set of deprivations that I face from the legislative acts of the Committee and H.Res.

   1037 are “so disproportionately severe and so inappropriate to nonpunitive ends that

   they unquestionably … fall within the proscription of Art. I, § 9. Nixon v. Administrator

   of General Services, 433 U.S. 425, 473 (1977).

15. In reviewing whether the legislative acts of the Committee and H.Res. 1037 constitute

   bills of attainder, Nixon v. Administrator of General Services provides this court with a

   number of possible tests, including most pertinently: (1) “the law plainly must be held to

   be an act of nonpunitive legislative policymaking” for it not to be considered a Bill of

   Attainder; (2) the “legislative history” must indicate that “the acts are “regulatory and

   not punitive in character?" 408 F. Supp., at 373;” and (3) any given legislative act must

   use the “less burdensome alternative” to achieve “its legitimate nonpunitive objectives.”

   Nixon v. Administrator of General Services, 433 U.S. 425, 482 (1977).



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16. In the Nixon case, the Court found no evidence of a punitive component in the

   regulatory act in question and therefore no bill of attainer issue.120 In this case, however,

   the Committee’s subpoena, its recommendation to hold me in contempt of Congress,

   and the passage of H.Res. 1037 clearly fail Test One.             With all the threats of

   imprisonment and confiscation of my property along with the reputational harm,

   banishment, and ostracization these legislative acts carry, they each and together have

   an undeniable strong punitive objective. That punitive objective is to bully and coerce

   me into violating what I believe to be my patriotic duty and obligation under the

   traditional institutions of executive privilege and testimonial immunity. The presence of

   such a strong punitive objective, in turn, points to a clear violation of the bill of

   attainder clause according to Test One.

17. With Test Two, and as noted in Doe v. Selective Service System, the court in the Nixon

   case analyzed whether the law, viewed through the lens of its legislative history,

   reasonably could be said to “further nonpunitive legislative purposes” and concluded in

   the affirmative, thereby rejecting the bill of attainder claim by Nixon. Doe v. Selective

   Service System, 557 F. Supp. 937, 944 (D. Minn. 1983).

18. In this case, however, we clearly and firmly must reach the opposite conclusion as the

   legislative history of the Committee, together with the legislative history of Speaker

   Pelosi and the Committee members over a period spanning more than five years, points

   clearly to a punitive exercise of legislative power – and therefore the pursuit of a

   judicial function.

19. To recap, we reviewed the legislative history of the Committee, its members, and

   Speaker Pelosi at length in the previous section of this brief; and it provided this court



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   with an undeniable spectacle of a series of kangaroo legislative acts and kangaroo courts

   formed with many of the same “kangaroos” populating the Committee all seeking to

   punish President Trump and his advisers.         From this legislative history, we must

   conclude that Test Two in this case points clearly to bills of attainder in the legislative

   acts of the Committee and Democrat-controlled House that specifically identify me by

   name.

20. It is worth noting here that U.S. v. Brown calls for such a full and dynamic analysis of

   the relevant legislative history when parsing bill of attainder issues, which is why in this

   case, we must provide such a legislative history analysis not just of the Committee but

   its individual members as well as Speaker Pelosi. Notes U.S. v. Brown:


     The Bill of Attainder Clause was not to be given a narrow historical reading …
     but was instead to be read in light of the evil the Framers had sought to
     bar: legislative punishment, of any form or severity, of specifically designated
     persons or groups. United States v. Brown, 381 U.S. 437, 442-43 (1965)

     The proper scope of the Bill of Attainder Clause, and its relevance to
     contemporary problems, must ultimately be sought by attempting to discern the
     reasons for its inclusion in the Constitution, and the evils it was designed to
     eliminate. The best available evidence, the writings of the architects of our
     constitutional system, indicates that the Bill of Attainder Clause was intended
     not as a narrow, technical (and therefore soon to be outmoded) prohibition,
     but rather as an implementation of the separation of powers, a general
     safeguard against legislative exercise of the judicial function, or more simply
     — trial by legislature. United States v. Brown, 381 U.S. 437, 442-43 (1965)

     [T]he Bill of Attainder Clause was intended not as a narrow, technical (and
     therefore soon to be outmoded) prohibition, but rather as an implementation of
     the separation of powers, a general safeguard against legislative exercise of


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     the judicial function, or more simply — trial by legislature. United States v.
     Brown, 381 U.S. 437, 442 (1965)

21. It is Test Three offered in Nixon v. GSA that should remove any legal doubt that the

   legislative acts of the Committee and H.Res. 1037 represent bills of attainder. To recap,

   this test speaks to the need to “inquire into the existence of less burdensome

   alternatives” by which a “legislature could have achieved its legitimate nonpunitive

   objectives. Nixon v. Administrator of General Services, 433 U.S. 425, 482 (1977).

   [emphasis added]

22. Clearly, if the Committee in this case has failed to rely on “less burdensome

   alternatives” to achieve its alleged “legitimate nonpunitive objectives,” that furthers the

   case that the legislative acts of both the Committee and House of Representatives to

   pursue contempt of Congress charges against me constitute bills of attainders.

23. In this case, there surely was, as a matter of both fairness and due process, two far less

   burdensome alternatives available to the Committee to achieve its putatively “legitimate

   nonpunitive objectives”: (1) negotiating with President Trump and his attorneys a full or

   partial waiver of executive privilege and/or testimonial immunity; and (2) a civil suit to

   enforce compliance with the subpoena rather using coercion and terror through a

   threatened criminal prosecution.

24. In my email response to the Committee on March 1, 2022, I indicated: “Please be

   advised that President Trump has invoked Executive Privilege in this matter; and it is

   neither my privilege to waive or Joseph Biden’s privilege to waive. Accordingly, my

   hands are tied. Your best course of action is to directly negotiate with President Trump

   and his attorneys regarding any and all things related to this matter.” That was the



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   Committee’s least burdensome alternative; yet, it appears to make no effort pursuit this

   alternative.

25. As a matter of due process and to avoid bill of attainder complications, the Committee

   could and should have pursued this far less burdensome alternative of negotiation than

   the one it chose.    Instead, either by coincidence or explicit or tacit collusion, the

   Committee made an end run around Trump’s invocation of executive privilege and

   testimonial immunity through the attempted stripping of that privilege and immunity by

   the incumbent president Joe Biden.

26. To recap, this end run is evident in Deputy Counsel to the President Jonathan Su’s letter

   to me of February 28, 2022. Su notified me that “President Biden has determined that

   an assertion of executive privilege is not in the national interest” and that “[f]or the

   same reasons...President Biden...will not assert immunity to preclude you from

   testifying before the Select Committee.” Yet, as this brief will address further in the

   next section, in the absence of criminal conduct, there is no settled law in support of

   such a fanciful and absurd action by an incumbent president to strip either executive

   privilege or testimonial immunity from a predecessor and those senior advisers like me

   who may have served that predecessor.

27. As a matter of fairness and due process and in the clear absence of settled law in support

   of the dubious right of an incumbent president to strip a predecessor of both privilege

   and immunity, it was incumbent upon the Committee to pursue the least burdensome

   alternative by directly negotiating with President Trump and his attorneys a full or

   partial waiver of executive privilege and related testimonial immunity.          This was

   particular true because I made it clear publicly that I would abide by any decision made



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   by President Trump in this matter: “If President Trump waives the privilege, I would be

   happy to testify.”121 Clearly, I am indicating to the Committee my full cooperation

   pending the outcome of their negotiation. Instead of pursuing such a negotiation, this

   kangaroo court of a Committee chose to dive right into the deep end of the pool of

   unsettled law on the rights of incumbent versus former presidents as regards the

   invoking or waiving of executive privilege and the related testimonial immunity of

   senior White House advisors.

28. If the right of an incumbent president to strip his immediate predecessor of executive

   privilege and testimonial immunity were settled law, the Committee might have a leg to

   stand on in defending itself against the “failure to pursue the less burdensome

   alternative” charge I make in this brief. But for the Committee to proceed with the far

   more burdensome alternative of holding me in criminal contempt of Congress against

   the backdrop of a far from resolved controversy for which there is no settled law smacks

   of a purely partisan and punitive measure and exercise of the judicial function and

   further solidifies the bill of attainder case.

29. I include further in this record that in my email response of March 1, 2022 to the

   Committee, I also point out the following: “In closing, I note that the United States

   government is in possession of all my official White House communications which your

   committee has requested. While I do not give my permission for your Select Committee

   to access this information as it involves privilege, I am at least advising you of this

   fact.” Clearly, much of the documentary material that the Committee with its subpoena

   was insisting that I provide was in the hands of the government itself. One wonders if

   the Committee has sought to obtain this material as a “less burdensome alternative.” If



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   so, the only remaining documentary material seemingly in play in their subpoena would

   be that of phone messages and email on my private accounts.                 Here, the less

   burdensome alternative would have been to simply subpoena such information from the

   service providers as they did with, for example, former Trump Chief of Staff Mark

   Meadows.122 If the Committee did so, then they would have needed nothing from me

   and the contempt charge would have been all but moot.

30. To recap, negotiating directly with President Trump and his attorneys over a full or

   partial waiver in my case of executive privilege and/or testimonial immunity would

   clearly have been the least burdensome alternative the Committee could have pursued to

   achieve its alleged nonpunitive legislative end. Yet, there was also a second least

   burdensome alternative available to the Committee and the House well short of a

   criminal prosecution.

31. As the opinion of District Judge John D. Bates in Committee on Judiciary v. Miers, 558

   F. Supp. 2d 53, 75-77 (D.D.C. 2008) makes clear, the second least burdensome

   alternative would have been to pursue a civil suit rather than a criminal prosecution. As

   OLC put it in a memorandum, a civil action would be superior because “Congress has a

   legitimate and powerful interest in obtaining any unprivileged documents necessary to

   assist it in its lawmaking function . . . [and] [a] civil suit to enforce the subpoena would

   be aimed at the congressional objective of obtaining the documents, not at inflicting

   punishment on an individual who failed to produce them.” Committee on Judiciary v.

   Miers, 558 F. Supp. 2d 53, 76-77 (D.D.C. 2008). [emphasis added]

32. In Committee on Judiciary v. Miers, “[t]he Committee on the Judiciary ("Committee"),

   acting on behalf of the entire House of Representatives, ask[ed] the Court to declare that



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   former White House Counsel Harriet Miers must comply with a subpoena and appear

   before the Committee to testify regarding an investigation into the forced resignation of

   nine United States Attorneys in late 2006, and that current White House Chief of Staff

   Joshua Bolten must produce a privilege log in response to a congressional subpoena.

   Committee on Judiciary v. Miers, 558 F. Supp. 2d 53, 55-56 (D.D.C. 2008).

33. Miers was a situation where Democrats controlled the House of Representatives as in

   this case but, unlike in this case, the Democrats faced an uncooperative Republican

   president and Attorney General. This effectively foreclosed the far most burdensome

   alternative of the highly punitive criminal prosecution Democrats originally sought.

34. After the Democrat-controlled House passed a resolution recommending criminal

   contempt charges against both Miers and Bolten – as the House has done against me in

   this case – the Republican Attorney General declined to prosecute. At that point,

   illustrating the viability of the less burdensome civil suit option while acknowledging

   the partisan nature of the battle, the Judiciary Committee filed the suit against Miers.

   As noted in this lengthy passage from the Miers opinion:


    Frustrated by the Executive's actions, the full Committee met on July 25, 2007
    and adopted a resolution "recommending that the House of Representatives
    find that former White House Counsel Harriet Miers and White House Chief of
    Staff Joshua Bolten be cited for contempt of Congress for refusal to comply
    with subpoenas issued by the Committee." See 153 Cong. Rec. D1051-01
    (2007). Chairman Conyers provided Mr. Fielding with a copy of the
    Committee's report in the hope that it might prompt the White House
    voluntarily to change its position. See Pl.'s Stmt. of Facts ¶ 52. He received no
    response. So, on November 5, 2007, the Committee filed its report with the full
    House of Representatives Id ¶ 54 Once again, Chairman Conyers wrote to


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 Mr. Fielding to inform him of that development and to reiterate that the
 Committee still hoped "to resolve the issue on a cooperative basis"; Chairman
 Conyers even included "a proposal for resolving the dispute." Id. ¶ 55. This
 time, Mr. Fielding responded by rejecting Chairman Conyers's offer, explicitly
 noting that "[w]e are therefore at a most regrettable impasse." Pl.'s Mot. Ex.
 34. He urged the Committee to "reconsider its proposed actions" and to accept
 the President's initial proposal. Id.

 The next day, however, the Attorney General responded that because Ms.
 Miers and Mr. Bolten were acting pursuant to the direct orders of the
 President, "the Department has determined that non compliance         with the
 Judiciary Committee subpoenas did not constitute a crime, and therefore the
 Department will not bring the congressional contempt citations before a grand
 jury or take any other action to prosecute Mr. Bolten or Ms. Miers." Pl.'s Mot.
 Ex. 40. With criminal enforcement of its subpoenas foreclosed, the Committee
 — invoking Resolution 980 — filed this action seeking a declaratory judgment
 and other injunctive relief. See Pl.'s Mot. at 14.

 In support of the case before being “a justiciable controversy” and therefore a
 viable less burdensome alternative – not the reference to “not inflicting
 punishment” -- the opinion of District Judge John D. Bates cites “[t]wo
 significant OLC [Office of Legal Counsel] opinions issued during the Reagan
 administration” germane to this case.

 In 1984, an opinion by Acting Assistant Attorney General Theodore Olson
 confirmed the viability of a federal civil suit brought by a House of Congress
 to enforce subpoenas issued to executive officials. See Prosecution for
 Contempt of Congress of an Executive Branch Official Who Has Asserted a
 Claim of Executive Privilege, 8 U.S. Op. Off. Legal Counsel 101, 137 (1984)
 (hereinafter "Olson OLC Opinion"). As OLC opined, Congress has three
 options available to enforce a subpoena against a recalcitrant respondent: (1)
 referral to the U.S. Attorney for prosecution of a criminal contempt of



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 Congress charge; (2) detention and prosecution pursuant to Congress's
 inherent contempt authority; or (3) a civil action to enforce the subpoena in a
 federal district court. When the respondent is a member of the executive
 branch who refuses to comply on the basis of executive privilege, however,
 OLC stated that the "contempt of Congress statute does not require and could
 not constitutionally require a prosecution of that official, or even, we believe, a
 referral to a grand jury of the facts relating to the alleged contempt." Id. at
 142 (emphasis added). That conclusion is rooted in concerns over both the
 Executive's traditional prosecutorial discretion, see id. at 140, as well as the
 "concomitant chilling effect" that might impair presidential advice if the
 possibility of criminal prosecution loomed over the President's close
 advisors, see id. at 142. Significantly, OLC also determined that "the same
 reasoning that suggests that the statute could not constitutionally be applied
 against a Presidential assertion of privilege applies to Congress' inherent
 contempt powers as well." Id. at n. 42. Thus, neither criminal prosecution nor
 inherent contempt could be employed against a recalcitrant executive branch
 official, as OLC saw it.

 Instead, "Congress [can] obtain a judicial resolution of the underlying
 privilege claim and vindicate its asserted right to obtain any documents by a
 civil action for enforcement of a congressional subpoena." Id. at 137 As OLC
 put it, a civil action would be superior because:

 Congress has a legitimate and powerful interest in obtaining any
 unprivileged documents necessary to assist it in its lawmaking function . . .
 [and] [a] civil suit to enforce the subpoena would be aimed at the
 congressional objective of obtaining the documents, not at inflicting
 punishment on an individual who failed to produce them. Thus, even if
 criminal sanctions were not available against an executive official who
 asserted the President's claim of privilege, Congress would be able to
 vindicate its legitimate desire to obtain documents if it could establish that its



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    need for the records outweighed the Executive's interest in preserving
    confidentiality. Id. ...

    A 1986 OLC opinion authored by Assistant Attorney General Charles Cooper
    reached the same conclusion. See Response to Congressional Requests for
    Information Regarding Decisions Made Under the Independent Counsel Act,
    10 U.S. Op. Off. Legal Counsel 68 (1986) (hereinafter "Cooper OLC
    Opinion"). In that opinion, OLC restated its position that Congress may
    institute "a civil suit seeking declaratory enforcement of [a] subpoena." Id. at
    83. Likewise, OLC indicated that although inherent contempt is theoretically
    available to Congress and could ultimately be challenged by the executive
    branch through a writ of habeas corpus brought by the detained official, "it
    seems most unlikely that Congress could dispatch the Sergeant at-Arms to
    arrest and imprison an Executive Branch official who claimed executive
    privilege." Id. at 86. Committee on Judiciary v. Miers, 558 F. Supp. 2d 53, 75-
    77 (D.D.C. 2008).

35. In this case, the highly partisan Committee and Democrat-controlled Congress in all

   likelihood believe they have a friend in a Democrat Attorney General who will help

   them use the criminal prosecution alternative to apply maximum coercive pressure in

   support of their punitive ends. Yet, this is clearly not the less burdensome alternative.

36. Miers makes clear that a civil suit in this case does indeed represent a justiciable

   controversy and a far less burdensome alternative than a criminal prosecution involving

   a contempt of Congress charge against me, with all its accompanying economic

   coercion, psychological terror, and other punishments. That the Committee and its

   members and the Democrat majority in the House instead pursued the single most

   burdensome option of criminal prosecution confirms the bill of attainder nature and

   punitive objective of their coercive tactics. In this way, the Committee and its members



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      along with the Democrat-controlled House miserably fails Test Three of Nixon v.

      Administrator of General Services and thereby confirms their legislative acts represent

      bills of attainder.

  37. In summary, H. Res. 1037 and the Committee’s Report along with the subpoena issued

      by the Committee that constitutes the basis for its contempt charge, together and

      separately violate the Bills of Attainder Clause of the Constitution. H. Res. 1037 should

      thereby be ruled by this Court as an invalid legislative act, both the Committee

      subpoena and Committee Report should likewise be ruled illegal and unconstitutional,

      and the U.S. Attorney for the District of Columbia should be enjoined from any further

      action in this matter.

An Incumbent President Cannot Waive the Executive Privilege of His Predecessor
or Testimonial Immunity of Senior Advisers Not Serving that Incumbent


       1.     We come now to more squarely address the third major controversy in this case:

What rights, if any, does an incumbent president have to strip away executive privilege from a

predecessor or other former presidents and/or to waive testimonial immunity for the senior

advisors of a predecessor or other former presidents? Because this controversy is so central to

this case, because there is no settled law, and because it has such broader implications for the

future viability of executive privilege and testimonial immunity as positive forces for effective

presidential decision-making, it is a controversy ripe for judicial review.

       2.     That this controversy is even a controversy stunned me when I first heard of it.

While I am not a lawyer, I’m not without legal expertise. One of my areas of expertise in

economics for which I have a Ph.D. in is regulatory economics; and this sub-field requires a

keen understanding of regulatory law. I am therefore not without experience in reading case



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law and parsing legal arguments, and I have also published numerous articles in law

journals.123 When I was made aware that the Committee was going to try to circumvent my

duties and obligations under the executive privilege invoked by President Trump and deny me

the protections of testimonial immunity by having President Biden strip Trump and myself of

these bulwarks of presidential decision-making, I began reading what little case law there is

about the viability of such a blatant end run around due process. Comm. On Judiciary of U.S.

House of Representatives v. McGahn, 951 F.3d 510, 518 (D.C. Cir. 2020) (“In such disputes,

we would have few authorities to guide us—sparse constitutional text, no statute, a handful of

out-of-context    cases,     and    a     set    of    more-or-less     ambiguous       historical

sources. Cf. Youngstown, 343 U.S. at 634, 72 S.Ct. 863 (Jackson, J., concurring) ("A judge ...

may be surprised at the poverty of really useful and unambiguous authority applicable to

concrete problems of executive power.").

       3.     Upon review of this sparse and anything but settled law, I didn’t know whether

to laugh at the absurdity of the attempted legal end run of the Committee and White House or

cry at how low the Democrats appeared to be willing to stoop that they would be willing to

wreck both executive privilege and testimonial immunity as their means to achieve the end of

Donald Trump and advisers like me.

       4.     The tradition and institution of executive privilege dates back to the days of

George Washington, who saw immediately the separation of powers dangers inherent in a

legislative branch given free reign to meddle in the affairs of the executive branch.

       5.     The Legal Information Institute defines executive privilege as “the power of the

President and other officials in the executive branch to withhold certain forms of confidential

communication from the courts and the legislative branch 124 while Senate.gov sees executive



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privilege “as a collection of different rights, united by the general principle that the president

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and key advisers must be able to have internal discussions without fear of exposure.”

       6.     Ala. Educ. Ass'n v. Bentley likewise notes: "Executive privilege "refers to a

doctrine under which "documents from a former or an incumbent President [or, arguably, the

chief executive of a state government] are presumptively privileged." United States v.

Poindexter, 727 F. Supp. 1501, 1505 (D.D.C. 1989) (citing United States v. Nixon, 418 U.S.

683, 708-13 (1974) Ala. Educ. Ass'n v. Bentley, Civil Action No. CV-11-S-761-NE, at *26

(N.D. Ala. Jan. 7, 2013). However, this definition is too limiting as it excludes the private

conversations between and among presidents and advisers for which there are no

“documentary materials,” as defined by the Presidential Records Act.126 [emphasis added]

       7.     The common legal thread in each of these definitions is that that the institution

of executive privilege is critical to effective presidential decision-making as executive

privilege (along with the companion institution of testimonial immunity) provide necessary

shields to foster the kind of candor that must exist among the president and his most senior

advisors to promote the most effective presidential and executive branch decision-making

possible.

       8.     As United States v. Nixon notes: “A President and those who assist him must be

free to explore alternatives in the process of shaping polices and making decisions and to do so

in a way many would be unwilling to express except privately.” Mazars, 140 S. Ct. at 2032

further notes that the privilege “safeguards the public interest in candid, confidential

deliberations within the Executive Branch” while Nixon v. Administrator of General Services

opines that executive privilege “is necessary to provide the confidentiality required for the

President’s conduct of office” because, “[u]nless he can give his advisers some assurance of


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confidentiality, a President could not expect to receive the full and frank submissions of facts

and opinions upon which effective discharge of his duties depends.” Nixon v. Administrator of

General Services, 433 U.S. 425, 448-49 (1977)

       9.    It follows from this principle that the more executive privilege (and testimonial

immunity) are qualified, the less candor there is likely to be in the conduct of official White

House business and the less optimal presidential decision-making will likely be. Yet settled

law is sparse as regards how executive privilege should be qualified. This is partly a function

of the relatively few cases that have addressed matters of executive privilege. As Comm. on

Judiciary v. McGahn notes: “To be sure, there was an uptick in Congress' use of its

investigative power in the late nineteenth century, and yet, as DOJ emphasizes, ‘there were

[still] very few cases dealing with the investigative power.’" Id. at 194, 77 S.Ct. 1173. Comm.

on Judiciary v. McGahn, 415 F. Supp. 3d 148, 181 (D.D.C. 2019).

       10.   As previously noted in Trump v. Mazurs, much of the time, disputes over

executive privilege between the executive and legislative branches have been negotiated in the

“hurly-burly” of the political arena and therefore case law on this subject is sparse: “The

question presented is whether the subpoenas exceed the authority of the House under the

Constitution. Historically, disputes over congressional demands for presidential documents

have not ended up in court. Instead, they have been hashed out in the "hurly-burly, the give-

and-take of the political process between the legislative and the executive." Hearings on S.

2170 et al. before the Subcommittee on Intergovernmental Relations of the Senate Committee

on Government Operations, 94th Cong., 1st Sess., 87 (1975) (A. Scalia, Assistant Attorney

General, Office of Legal Counsel). Trump v. Mazars U.S., LLP, 140 S. Ct. 2019, 2029 (2020).

       11.   The few generally accepted principles considered to be settled law date back to



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the United States v. Nixon a.k.a. the Watergate scandal and Nixon v. Administrator of General

Services.

       12.    The Watergate Scandal opened the door to the qualification of privilege in the

presence of criminal conduct, e.g., the privilege is waived if the communications are criminal

in nature. Yet, this qualification would indeed quickly be “cabined” to the criminal sphere.

Committee on Judiciary v. Miers notes: “Nixon involved a criminal proceeding but we soon

rejected a generalized claim of absolute executive privilege in civil litigation as

well. See Dellums , 561 F.2d at 245–46.” Comm. On Judiciary of U.S. House of

Representatives v. McGahn, 951 F.3d 510, 540 n.11 (D.C. Cir. 2020)

       13.    United States v. Nixon also helped confirm that “the Judiciary is the ultimate

arbiter when it comes to claims of executive privilege” while “the Miers opinion stands for

the proposition that   courts    have    federal    jurisdiction    over subpoena enforcement

disputes between the Legislature and the Executive branch, and that such disputes are

justiciable….” Comm. on Judiciary v. McGahn, 415 F. Supp. 3d 148, 173 (D.D.C. 2019).

       14.    Note that Comm. on Judiciary v. McGahn is a highly flawed opinion that was

overturned on appeal. Comm. On Judiciary of U.S. House of Representatives v. McGahn, 951

F.3d 510 (D.C. Cir. 2020). Nothing in it qualifies as precedent.

       15.    Nixon v. Administrator of General Services likewise makes clear that incumbent

presidents are not the only ones who can claim executive privilege: “We reject the argument

that only an incumbent President may assert such claims and hold that appellant, as a former

President, may also be heard to assert them.” Nixon v. Administrator of General Services, 433

U.S. 425, 439 (1977). Yet this case also put forth the dubious proposition based on a District

Court ruling – and again cast within the shadow of possible criminal activity -- that the claims



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of   a    former   president   “carries   much   less   weight   than   a   claim   asserted   by

the incumbent himself." Id., at 345.” Nixon v. Administrator of General Services, 433 U.S.

425, 448 (1977).

         16.   United States v. Nixon also helped set the precedent that the applicability of

executive privilege should be decided on a case-by-case basis by weighing the need to protect

confidentiality and preserve executive privilege against the need for the administration of

justice.127 Yet, as previously noted with the “cabined” reference, this principle itself was again

limited by the context of the case itself with respect to the criminality involved. “[T]he

Supreme Court in United States v. Nixon explicitly cabined its opinion to the criminal

arena. See 418 U.S. at 711 n. 19 ("We address only the conflict between the President's

assertion of a generalized privilege of confidentiality and the constitutional need for relevant

evidence in criminal trials.").” Committee on Judiciary v. Miers, 558 F. Supp. 2d 53, 72

(D.D.C. 2008). [emphasis added]

         17.   Of course, it may be arguable that neither presidents nor their advisors should be

shielded in ways that would allow criminal conduct to flourish. But it must be at this criminal

water’s edge where the qualification of executive privilege and testimonial immunity by both

the Committee and the White House must stop if these two important bulwarks of effective

presidential decision-making are to be maintained. At this water’s edge, there is not a scintilla

of settled law over the controversy as to whether an incumbent president can waive the

privilege of his or her predecessor and/or the testimonial immunity of that predecessor’s senior

advisers. To recap, Comm. On Judiciary of U.S. House of Representatives v. McGahn, 951

F.3d 510, 518 (D.C. Cir. 2020) (“In such disputes, we would have few authorities to guide

us—sparse constitutional text, no statute, a handful of out-of-context cases, and a set of more-



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or-less ambiguous historical sources. Cf. Youngstown, 343 U.S. at 634, 72 S.Ct. 863 (Jackson,

J., concurring) ("A judge ... may be surprised at the poverty of really useful and unambiguous

authority applicable to concrete problems of executive power.").

       18.    While the Committee and its lawyers are free to make whatever arguments they

might want in support Joe Biden’s actions in this case, the ideas that a sitting president can

strip his predecessor or former presidents of executive privilege and the president’s most

senior advisors of testimonial immunity are both fanciful and absurd on their face. It is even

more fanciful and absurd in this case when the sitting president, a Democrat, is seeking to strip

the executive privilege of the man he allegedly beat in the 2020 presidential election,

Republican Donald Trump, even as both Biden and the Democrat Party are doing everything

within their substantial political powers not just to end the presidential career of Donald

Trump but to bury any challenges to the fairness and integrity of a 2020 election that remains

hotly disputed.

       19.    Stripped of rhetoric, allowing a sitting president of one political party to strip a

predecessor of another political party of executive privilege and likewise strip senior White

House advisors serving that predecessor of their testimonial immunity – regardless of whether

this is done under the alluring banner of the national interest – is arguably the most extreme

and dangerous form of qualifying executive privilege and testimonial immunity.             If this

fanciful and absurd idea were turned into settled law, imbuing an incumbent president with

such power would turn executive privilege and testimonial immunity into partisan ping-pong

balls and deal a mortal blow to the critical functions each are supposed to serve in our

Republic: (1) help uphold the principle of separation of powers; and (2) provide for optimum

candor in presidential decision-making.



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       20.    Even if such instances of an incumbent president waiving the privilege of his

predecessor were seen as rare and occurring in only extreme circumstances as Dellums v.

Powell alludes to, if this were settled law, it would be enough to mortally wound privilege as

an essential ingredient of effective presidential decision-making. This is particularly so within

the context of this case where it is clear that the Committee has, as previously noted, in all

probability either explicitly or tacitly colluded with the incumbent president to have the Trump

privilege waived so the Committee can then have its judicial function and bill of attainder

ways with President Trump and his most senior advisors. Here, Dellums v. Powell has it right

when it opines: [T]hose on whom a President relies for advice would be foolish indeed to

discuss the demands of executive decision-making with candor, when every proposal would

be subject to public disclosure through civil discovery. Dellums v. Powell, 561 F.2d 242, 246

(D.C. Cir. 1977). [emphasis added]

       21.    Here, however, Dellums v. Powell has it wrong when it argues that it is such a

rare “infrequent” occurrence in which privilege and immunity might be waived that it would

not materially affect the risk calculus of future senior White House advisers: “We cannot

conclude that advisers will be moved to temper the candor of their remarks by the infrequent

occasions of disclosure because of the possibility that such conversations will be called for in

the context of a criminal prosecution.” Dellums v. Powell, 561 F.2d 242, 247 n.12 (D.C. Cir.

1977) [emphasis added] and “[T]he need for confidentiality is in large measure secured and

protected by the relatively infrequent occasions when an assertion of the privilege may be

overcome.” Dellums v. Powell, 561 F.2d 242, 246 (D.C. Cir. 1977).

       22.    The clear problem with this “relatively infrequent occasions” argument in the

context of this case is that the current situation clearly indicates a long term “repeatable game”



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pattern of partisan abuse of the House’s investigatory powers over more than five-year period

rather than a “one and done” rare event based on extraordinary circumstances occurring in, as

Dellums v. Powell qualifies it, the “context of a criminal prosecution.” Dellums v. Powell, 561

F.2d 242, 247 n.12 (D.C. Cir. 1977).          (To recap, this pattern of partisan abuse by the

Committee and its members along with Speaker Pelosi was firmly established in a previous

section of this brief.)

        23.    From my perspective as a trained economist, and through the lens of strategic

game theory, I see the punitive legislative acts and chronic pattern of partisan abuses

associated with the Committee and its members over a more than five-year period indeed as a

“repeatable game” of gotcha and punishment rather than a one-off rare event that that

threatens to reduce the institutions of executive privilege and testimonial immunity to ping

pong balls of partisan politics. In this strategic game, whichever party controls both the House

of Representatives and White House will effectively weaponize Congress’s investigatory

powers in ways designed to: (1) punish political rivals and (2) deny individuals the

opportunity to effectively run for political office.

        24.    As partisans in the Congress wield their investigatory powers, they will enlist

whatever friendly president might be in the White House to strip the executive privilege of

former presidents and the testimonial immunity of former senior White House advisors; and it

will all be done under the false flags of national emergency and national security. In this case,

if the Committee and Joe Biden are able to pull this deadly game off and effectively establish

the principle that an incumbent can strip his predecessor of both executive privilege and

testimonial immunity, just imagine what will happen to Joe Biden and his advisers if

Republicans win both the White House and House in 2024. In fact, I don’t need to imagine



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this repeat of the strategic game. If I’m not dead or in prison, I will “tit for tat” lead the

charge.

          25.   In summary, if the goal is to preserve executive privilege and testimonial

immunity to promote optimal presidential decision-making through maximum candor, than the

idea that a former president’s entitlement to such privilege is somehow of a “lesser weight”

than a present president is indeed fanciful and absurd Any settled law that institutionalizes a

revolving partisan door for the waiving of testimonial immunity and executive privilege will

end both immunity and privilege as essential elements of effective presidential decision-

making. Because this is so, the time is ripe for this court to address this controversy. By

ruling in my favor, the court will lift the burdensome punishments now being inflicted upon

me and provide the appropriate relief.

          26.   I note in closing that as I came to this particular controversy, it was settled law

that executive privilege is not my privilege to waive. Absent a waiver of that privilege by

President Trump, it was – and remains -- my duty not to comply with the Committee’s

subpoena. Importantly, and I repeat, I have also made it clear publicly that I would abide by

any decision made by President Trump in this matter.128

          27.   Instead of negotiating directly with President Trump and his attorneys as settled

law demanded, the Committee and its members used the Biden unsettled law waiver of

privilege and immunity to try to effectively strip me of any legal right, duty, or constitutional

obligation I might have had to fail to comply with their subpoena and, after I failed to comply

with what I believed their unlawful subpoena, the Committee and Democrat-controlled House

pursued the most burdensome and punitive alternative of a criminal contempt charge rather

than the less burdensome options of negotiating the privilege with President Trump or filing a



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 civil suit.

         28.   As a result, I was put in the untenable position in which the president I served

 under has invoked a privilege that a president that I did not serve under has appeared to waive.

 Given that it was my sworn duty to uphold the law and abide by the Constitution and that it

 remains my belief that there is no settled law to support the acts of the Biden White House and

 Committee and given that I believe the law strongly leans in my favor, I had – and have -- no

 other honorable choice than to fail to comply with the Committee’s subpoena. In the absence

 of even a scintilla of settled law in this matter, it would be both unlawful and dishonorable for

 me to consider President Trump’s privilege and my own testimonial immunity waived just

 because Joe Biden says they are.

         29.   I therefore ask this court to dive into the deep end of this pool and firmly address

 a controversy that is ripe for adjudication and thereby settle the law in this matter.

The Plaintiff’s Testimonial Immunity is Absolute and His Failure to Comply With a
Congressional Subpoena Cannot Be the Legal Basis for a Contempt of Congress Charge.


         1.    Congress cannot lawfully hold the Plaintiff in contempt of Congress for failure

 to comply with a subpoena that compels him to testify before the Committee because, under

 long-standing Department of Justice policy, the Plaintiff has absolute testimonial immunity as

 a senior White House official and has a duty to his country and the executive branch not to

 comply with said subpoena.

         2.    The right of a senior White House official to testimonial immunity is conceptual

 and legally distinct from executive privilege. The Office of Legal Counsel in the Department

 of Justice (OLC) has long contended, dating back more than 50 years, that such immunity is

 absolute; and there is no settled law to the contrary. Memorandum For Pat A. Cipollone



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Counsel To The President Re: Testimonial Immunity Before Congress of the Former Counsel

to the President, May 20, 2019. As OLC notes:

       This testimonial immunity is distinct from, and broader than, executive privilege. Like

       executive privilege, the immunity protects confidentiality within the Executive Branch

       and the candid advice that the Supreme Court has acknowledged is essential to

       presidential decision-making... But the immunity extends beyond answers to particular

       questions, precluding Congress from compelling even the appearance of a senior

       presidential adviser—as a function of the independence and autonomy of the President

       himself. In this regard, the President’s immediate advisers are constitutionally distinct

       from the heads of executive departments and agencies, whose offices are created by

       acts of Congress, whose appointments require the Senate’s advice and consent, and

       whose responsibilities entail the administration of federal statutes. Those officers can

       and do testify before Congress. The President’s immediate advisers, however, exercise

       no statutory authority and instead act solely to advise and assist the President. Their

       independence from Congress reflects that of the President.

       Since the 1970s, this Office has consistently advised that “the President and his

       immediate advisers are absolutely immune from testimonial compulsion by a

       Congressional committee” on matters related to their official duties. Memorandum for

       All Heads of Offices, Divisions, Bureaus and Boards of the Department of Justice,

       from John M. Harmon, Acting Assistant Attorney General, Office of Legal Counsel,

       Re: Executive Privilege at 5 (May 23, 1977) (“Harmon Memorandum”); see also

       Rehnquist Memorandum at 7 (“The President and his immediate advisers—that is,

       those who customarily meet with the President on a regular or frequent basis—should



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       be deemed absolutely immune from testimonial compulsion by a congressional

       committee.”). Indeed, this Office has endorsed that legal principle on more than a

       dozen occasions, over the course of the last eight presidential administrations.129

       3.     If the testimonial immunity of senior White House officials is absolute and

exists as an institution to provide for unconstrained candor in communications between an

adviser and the president or other advisers, then it can’t be waived by the adviser and certainly

not by an incumbent president seeking to unlawfully strip his predecessor of both executive

privilege and the right to grant testimonial immunity.

       4.     Only the courts have the power to waive testimonial immunity on a case by case

basis and, given the high stakes for the Republic involved, the courts should tread extremely

lightly. Indeed, if the purpose of testimonial immunity is to provide the confidence senior

White House advisers need to speak in complete candor to the president and other senior

advisers, then any erosion of such testimonial immunity protection must inevitably lead to a

reduction in such candor and therefore less optimal decision-making.

       5.     I propose the following test for this court to consider: Would a current White

House adviser be significantly less likely to engage in the kind of candor necessary for

effective presidential decision-making as recognized under Nixon v. Administrator of General

Services if that adviser understands that any claim to testimonial immunity by that adviser

may be waived by a president that adviser did not serve under? If the answer is yes, then

testimonial immunity must be considered absolute in this circumstance or, alternatively,

waived only on a case by case basis by the courts with extreme caution.

       6.     I have been put in the untenable position of choosing between conflicting

privilege claims that are of constitutional origin and dimension and for which there is no



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settled law. Allowing a sitting president of one political party to strip a predecessor of another

political party of the testimonial immunity afforded to that predecessor’s senior White House

advisors in the absence of possible criminal conduct – regardless of whether this is done under

the flag of the national interest – is arguably the most extreme and dangerous form of

qualifying testimonial immunity. If this fanciful and absurd idea were turned into settled law,

imbuing an incumbent president with such power would deal a mortal blow to the critical

functions that testimonial immunity are supposed to serve in our Republic.


                                        PRAYER FOR RELIEF

        Wherefore, Plaintiff asks the Court to enter judgment in his favor and against Defendants

and to order the following relief:

            a. A declaratory judgment that the Committee is neither duly authorized nor properly

                constituted and therefore its legislative acts, including the subpoena issued to the Plaintiff

                and Committee Report 117-284, are therefore ultra vires, unlawful, and

                unenforceable;

            b. A declaratory judgment that the Committee’s subpoena issued to the Plaintiff, the

                Committee’s Report 117-284, and H.Res. 1037 all represent legislative acts that, as

                revealed by the legislative history, violate the principle of separation of powers in their

                simultaneous and unlawful pursuit of a judicial function over and above a facially valid

                legislative function and are therefore ultra vires, unlawful, and unenforceable;

            c. A declaratory judgment that the Committee’s subpoena issued to the Plaintiff, the

                Committee’s Report 117-284, and H.Res. 1037 violate the constitutional proscription

                against bills of attainder and are therefore ultra vires, unlawful, and unenforceable;




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   d. An injunction against the U.S. Attorney for the District of Columbia enjoining

      him from proceeding against the Plaintiff “in the manner and form provided by

      law” as H.Res. 1037 recommends;

   e. A declaratory judgment that the Committee subpoena issued to the Plaintiff

      improperly compels testimony of a senior executive official; and

   f. A declaratory judgment against President Joe Biden that he does not have the

      legal authority to waive any executive privilege or testimonial immunity

      invoked by his predecessor in this case.




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ENDNOTES

1
  H.Res.8 - 117th Congress (2021-2022): Adopting the Rules of the House of Representatives for
the One Hundred Seventeenth Congress, and for other purposes. | Congress.gov | Library of
Congress
“This resolution establishes the rules of the House of Representatives for the 117th Congress by
adopting and modifying the House rules from the 116th Congress. Changes from the rules for the
previous Congress include measures to facilitate the operation of Congress during the ongoing
COVID-19 (i.e., coronavirus disease 2019) pandemic.
The resolution makes the Office of Diversity and Inclusion permanent, revises language in the
rules to be gender-inclusive, and continues requirements to protect congressional employees
from harassment and discrimination. The resolution also implements measures to protect whistle-
blowers and increase congressional transparency.
The resolution authorizes necessary amounts for the Committee on House Administration to
resolve contested elections. Additionally, the Clerk of the House of Representative must
establish a process for House Members to indicate their support for Senate-passed measures that
have been received by the House, including maintaining a publicly available list of Members
supporting each measure.
The chair of the Committee on the Budget may adjust an estimate concerning the fiscal impact
of legislation to exempt the budgetary effects of measures to prevent, prepare for, or respond to
economic or public health consequences resulting from the COVID-19 pandemic, as well as
measures to prevent, prepare for, or respond to economic, environmental, or public health
consequences resulting from climate change.
Until the Committee on Oversight and Reform has adopted rules, the chair of the Select
Subcommittee on the Coronavirus Crisis may issue subpoenas related to its investigation into
political interference in the response to the coronavirus pandemic at the Department of Health
and Human Services and the Centers for Disease Control and Prevention.
The resolution also reauthorizes specified commissions, offices, and committees, and establishes
a Select Committee on Economic Disparity and Fairness in Growth.”
2
  The "power of inquiry—with process to enforce it” is “an essential and appropriate auxiliary to
the legislative function." McGrain v. Daugherty , 273 U.S. 135, 161, 47 S.Ct. 319, 71 L.Ed.
580 (1927), at 174, 47 S.Ct. 319.
3
  For example, Watkins v. United States insists that “testing the motives of committee
members...is not our function” and furthermore, “motives alone would not vitiate an
investigation which had been instituted by a House of Congress if that assembly's legislative
purpose is being served. Watkins v. United States, 354 U.S. 178 (1957). Barenblatt asserts
"motives alone would not vitiate an investigation which had been instituted by a House of
Congress if that assembly's legislative purpose [function] is being served." Barenblatt v. United
States, 360 U.S. 109, 132-33 (1959). “So long as Congress acts in pursuance of its constitutional
power, the Judiciary lacks authority to intervene on the basis of the motives which spurred the
exercise of that power.” Barenblatt v. United States, 360 U.S. 109, 132 (1959). As recently as


                                                77
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2019, Trump v Mazur opines "[s]o long as Congress acts in pursuance of its constitutional
power, the Judiciary lacks authority to intervene on the basis of the motives which spurred the
exercise of that power." Id. at 127, 132, 79 S.Ct. 1081. Trump v. Mazars U.S., LLP, 940 F.3d
710, 721 (D.C. Cir. 2019)
4
    Preventing a Disrupted Presidential Election and pdf (documentcloud org)
5
    The Secret Bipartisan Campaign That Saved the 2020 Election | Time
6
    The Navarro Report – PETER NAVARRO
7
    https://www.surveymonkey.com/curiosity/axios-january-6-revisited/
https://www.ipsos.com/sites/default/files/ct/news/documents/2022-01/Topline-NPR-Ipsos-
poll pdf
8
  Electronic email from Bennie Thompson to Peter Navarro, February 9, 2022 transmitting
subpoena
9
    10 iconic American companies owned by Chinese investors (cnbc.com)
10
  https://www.thegatewaypundit.com/2022/01/jan-6-remembered-ignored-media-fbi-antifa-blm-
activists posting photos bragging online storming us capitol jan 6/
11
     FBI had informant in crowd during Capitol riot: report | The Hill
12
  “"In short: [Dan Scavino and Peter Navarro] played key roles in the ex-President's efforts to
overturn the results of the 2020 election…” (Thompson) https://www.cbsnews.com/news/peter-
navarro-dan-scavino-house-january-6-committee-refers-contempt-charge/
“He hasn’t been shy about his role in efforts to overturn the results of the 2020 election and has
even discussed the former President’s support for those plans…” (Thompson)
https://apnews.com/article/capitol-siege-steve-bannon-subpoenas-dan-scavino-peter-navarro-
3247f6b7a644ff3e2c6f14d41f6cd0c8
13
 In Trump Time: My Journal of America’s Plague Year: Navarro, Peter: 9781737478508:
Books Amazon com
14
  3 U.S. Code § 15 - Counting electoral votes in Congress | U.S. Code | US Law | LII / Legal
Information Institute (cornell.edu)
15
     https://chicago.suntimes.com/2020/12/16/22176920/jfk-stolen-1960-election-chicago-illinois
16
 https://docs.house.gov/meetings/IJ/IJ00/20220328/114565/HMTG-117-IJ00-20220328-
SD002 pdf
17
 https://docs.house.gov/meetings/IJ/IJ00/20220328/114565/HMTG-117-IJ00-20220328-
SD002.pdf
18
  A fourth choice would have been piecemeal negotiation over what the Committee wanted but
after watching the spectacle with Meadows, I wanted no part of that.




                                                   78
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19
     https://docs.house.gov/meetings/IJ/IJ00/20220328/114565/HRPT-117-NA.pdf
25 The prison term for this offense makes it a Class A misdemeanor. 18 U.S.C. § 3559(a)(6).
By that classification, the penalty for contempt § 192 increased from $1,000 to $100,000. 18
U.S.C. § 3571(b)(5).
20
  CNN Exclusive Ivanka Trump talked to January 6 committee about what was happening
inside White House that day, panel chairman says | CNN Politics
21
  CNN Exclusive: Ivanka Trump talked to January 6 committee about what was happening
inside White House that day, panel chairman says - KVIA
22
  https://morningconsult.com/2018/05/16/voters-dont-necessarily-think-pleading-the-fifth-
implies guilt but it varies by
party/#:~:text=51%25%20of%20registered%20voters%20said,independents%20who%20said%2
0the%20same.
23
 https://www.realclearpolitics.com/video/2021/12/02/january_6_committee_chairman_bennie_th
ompson_if_you_plead_the_fifth_youre_part_and_parcel_guilty.html .
24
     Su Letter of Feb 28, 2022
25
 See, for example, Jan. 6 Panel Warns of Contempt Charges Against Two More Trump Allies -
The New York Times (nytimes.com).
26
  https://www.cbsnews.com/news/peter-navarro-dan-scavino-contempt-motion-advances-to-full-
house/
27
     https //clerk house gov/Votes/2022118
28
  H.Res.8 - 117th Congress (2021-2022): Adopting the Rules of the House of Representatives
for the One Hundred Seventeenth Congress, and for other purposes. | Congress.gov | Library of
Congress.
“This resolution establishes the rules of the House of Representatives for the 117th Congress by
adopting and modifying the House rules from the 116th Congress Changes from the rules for the
previous Congress include measures to facilitate the operation of Congress during the ongoing
COVID-19 (i.e., coronavirus disease 2019) pandemic.
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supporting each measure.




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The chair of the Committee on the Budget may adjust an estimate concerning the fiscal impact
of legislation to exempt the budgetary effects of measures to prevent, prepare for, or respond to
economic or public health consequences resulting from the COVID-19 pandemic, as well as
measures to prevent, prepare for, or respond to economic, environmental, or public health
consequences resulting from climate change.
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Subcommittee on the Coronavirus Crisis may issue subpoenas related to its investigation into
political interference in the response to the coronavirus pandemic at the Department of Health
and Human Services and the Centers for Disease Control and Prevention.
The resolution also reauthorizes specified commissions, offices, and committees, and establishes
a Select Committee on Economic Disparity and Fairness in Growth.”
29
  H.Res.503 - 117th Congress (2021-2022): Establishing the Select Committee to Investigate the
January 6th Attack on the United States Capitol. | Congress.gov | Library of Congress
30
   https://www.npr.org/2021/07/27/1020713409/here-are-the-9-lawmakers-investigating-the-jan-
6 capitol attack
31
   https://www.politico.com/news/2021/07/19/mccarthy-zeroes-in-on-five-gop-members-for-jan-
6-select-committee-500201
32
  The composition of the House Select Committee to Investigate the January 6th Attack on the
United States Capitol is governed by Section 2 of H. Res. 503. Section 2(a) states “Appointment
Of Members.—The Speaker shall appoint 13 Members to the Select Committee, 5 of whom shall
be appointed after consultation with the minority leader.” H. Res. 503 117th Cong. (2021).
33
  Nancy Pelosi, Speaker, U.S. House of Representatives, Pelosi Statement on Republican
Recommendations to Serve on the Select Committee to Investigate the January 6th Attack on the
U.S. Capitol (July 21, 2021), https://www.speaker.gov/newsroom/72121-2
34
  The "power of inquiry with process to enforce it” is “an essential and appropriate auxiliary to
the legislative function." McGrain v. Daugherty , 273 U.S. 135, 161, 47 S.Ct. 319, 71 L.Ed.
580 (1927), at 174, 47 S.Ct. 319.
35
  McGrain v. Daugherty, 273 U.S. 135 (1927). Each house of Congress has power, through its
own process, to compel a private individual to appear before it or one of its committees and give
testimony needed to enable it efficiently to exercise a legislative function belonging to it under
the Constitution. P. 160. 7
36
  For example, Watkins v. United States insists that “testing the motives of committee
members...is not our function” and furthermore, “motives alone would not vitiate an
investigation which had been instituted by a House of Congress if that assembly's legislative
purpose is being served Watkins v United States, 354 U S 178 (1957) Barenblatt asserts
"motives alone would not vitiate an investigation which had been instituted by a House of
Congress if that assembly's legislative purpose [function] is being served." Barenblatt v. United
States, 360 U.S. 109, 132-33 (1959). “So long as Congress acts in pursuance of its constitutional
power, the Judiciary lacks authority to intervene on the basis of the motives which spurred the




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exercise of that power.” Barenblatt v. United States, 360 U.S. 109, 132 (1959). As recently as
2019, Trump v Mazur opines "[s]o long as Congress acts in pursuance of its constitutional
power, the Judiciary lacks authority to intervene on the basis of the motives which spurred the
exercise of that power." Id. at 127, 132, 79 S.Ct. 1081. Trump v. Mazars U.S., LLP, 940 F.3d
710, 721 (D C Cir 2019)
37
  “Investigations, whether by standing or special committees, are an established part of
representative government. Legislative committees have been charged with losing sight of their
duty of disinterestedness. In times of political passion, dishonest or vindictive motives are
readily attributed to legislative conduct and as readily believed. Courts are not the place for such
controversies. Self-discipline and the voters must be the ultimate reliance for discouraging or
correcting such abuses. The courts should not go beyond the narrow confines of determining that
a committee's inquiry may fairly be deemed within its province. To find that a committee's
investigation has exceeded the bounds of legislative power it must be obvious that there was a
usurpation of functions exclusively vested in the Judiciary or the Executive. The present case
does not present such a situation. Tenney v. Brandhove, 341 U.S. 367, 377-78 (1951). In this
case, it is painfully and glaringly obvious the Speaker and the Committee and its members have
persistently sought to exercise judicial power.
38
   In the light of the Committee's history and the repeated extensions of its life, as well as the
successive appropriations by the House of Representatives for the conduct of its activities, its
legislative authority and that of the Subcommittee to conduct the inquiry under consideration
here is unassailable; and House Rule XI, 83d Congress, which defines the Committee's authority,
cannot be said to be constitutionally infirm on the score of vagueness. Watkins v. United States,
354 U.S. 178, distinguished. Pp. 116-123.
39
   (a) Rule XI has a "persuasive gloss of legislative history" which shows beyond doubt that, in
pursuance of its legislative concerns in the domain of "national security," the House of
Representatives has clothed the Committee with pervasive authority to investigate Communist
activities in this country. Pp. 117-121.
40
   https://www.govinfo.gov/content/pkg/BILLS-117hr3233ih/pdf/BILLS-117hr3233ih.pdf
41
    (1) a “Chairperson” “appointed jointly by the Speaker of the House of Representatives and the
majority leader of the Senate”; (2) a “Vice Chairperson” “appointed jointly by the minority
leader of the House of Representatives and the minority leader of the Senate”; (3) “two members .
. . appointed by the Speaker of the House of Representatives”; (4) “two members . . . appointed by
the minority leader of the House of Representatives”; (5) “two members . . . appointed by the
majority leader of the Senate”; and (6) “two members . . . appointed by the minority leader of the
Senate.” Because Democrats control both chambers in the current Congress, the Commission
would have included five members appointed by Democrats and five members appointed by
Republicans.
42
  https://www.congress.gov/bill/117th-congress/house-bill/3233/all-
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   “Bills of pains and penalties "historically consisted of a wide array of punishments:
commonly included were imprisonment, banishment, and the punitive confiscation of property
by a sovereign."”
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   As noted, both Liz Cheney and Adam Kinzinger have been censured by the Republican Party
for their actions in this matter.
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      Stephen K. Bannon Indicted for Contempt of Congress | OPA | Department of Justice
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    This finding was also leavened by the fact that the Nixon case involved “the fair
administration of criminal justice.” Nixon v. Administrator of General Services, 433 U.S. 425,
477-78 (1977) Legislation designed to guarantee the availability of evidence for use at criminal
trials is a fair exercise of Congress' responsibility to the "due process of law in the fair
administration of criminal justice," United States v Nixon , 418 U S , at 713, and to the
functioning of our adversary legal system which depends upon the availability of relevant
evidence in carrying out its commitments both to fair play and to the discovery of truth within
the bounds set by law. Branzburg v. Hayes, 408 U.S. 665, 688 (1972); Blackmer v. United
States, 284 U.S. 421, 438 (1932); Blair v. United States, 250 U.S. 273, 281 (1919). Similarly,
Congress' interest in and expansive authority to act in preservation of monuments and records of
historical value to our national heritage are fully established.
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  See, for example, Jan. 6 Panel Warns of Contempt Charges Against Two More Trump Allies -
The New York Times (nytimes.com).
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   See The Future of Electricity Deregulation Lessons Learned From the California Crisis
Energy Law Journal, Summer 2003. . “The Restructuring Regulator: A Guidebook and Research
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Natural Resource Damage Assessments," with Richard Carson, Natural Resource Law Journal,
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   “The term “documentary material” means all books, correspondence, memoranda, documents,
papers, pamphlets, works of art, models, pictures, photographs, plats, maps, films, and motion
pictures, including, but not limited to, audio and visual records, or other electronic or mechanical
recordations, whether in analog, digital, or any other form. 44 U.S. Code § 2201 – Definitions.”
While official written documents are generally in the possession of the National Archivist and
governed by the PRA, the PRA is silent about conversations for which there are no electronic
recordings or transcripts.
127
   Executive Privilege | Wex | US Law | LII / Legal Information Institute (cornell.edu) and
“Neither the doctrine of separation of powers nor the generalized need for confidentiality of high-
level communications, without more, can sustain an absolute, unqualified Presidential privilege
of immunity from judicial process under all circumstances. See, e. g., Marbury v. Madison, 1
Cranch 137, 177; Baker v. Carr, 369 U.S. 186, 211. United States v. Nixon, 418 U.S. 683, 684
(1974)”




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  https://www.cbsnews.com/news/peter-navarro-dan-scavino-house-january-6-committee-refers-
contempt-charge/
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   See Immunity of the Assistant to the President, 38 Op. O.L.C. at *1; Letter for Fred F.
Fielding, Counsel to the President, from Steven G. Bradbury, Principal Deputy Assistant
Attorney General, Office of Legal Counsel at 1 2 (Aug 1, 2007) (“Bradbury Letter”); Immunity
of the Former Counsel, 31 Op. O.L.C. at 191; Reno Opinion, 23 Op. O.L.C. at 4; Immunity of
the Counsel to the President from Compelled Congressional Testimony, 20 Op. O.L.C. 308, 308
(1996) (“Immunity of the Counsel to the President ”); Letter for Jack Brooks, Chairman,
Committee on the Judiciary, U.S. House of Representatives, from Nicholas E. Calio, Assistant to
the President for Legislative Affairs at 1 (June 16, 1992) (“Calio Letter”); Olson Memorandum
at 2; Memorandum for Rudolph W. Giuliani, Associate Attorney General, from Theodore B.
Olson, Assistant Attorney General, Office of Legal Counsel, Re: Congressional Demand for
Deposition of Counsel to the President Fred F. Fielding at 2 (July 23, 1982) (“Congressional
Demand for Deposition of Counsel ”); Memorandum for Fred F. Fielding, Counsel to the
President, from Theodore B. Olson, Assistant Attorney General, Office of Legal Counsel, Re:
Congressional Testimony by Presidential Assistants at 1 (Apr. 14, 1981); Memorandum for
Margaret McKenna, Deputy Counsel to the President, from John M. Harmon, Assistant Attorney
General, Office of Legal Counsel, Re: Dual-Purpose Presidential Advisers at 5 (Aug. 11, 1977);
Harmon Memorandum at 5; Letter to Phillip E. Areeda, Counsel to the President, from Antonin
Scalia, Assistant Attorney General, Office of Legal Counsel (Sept. 25, 1974) (enclosing a
memorandum, hereinafter “Scalia Memorandum”); Memorandum for John W. Dean III, Counsel
to the President, from Roger C. Cramton, Assistant Attorney General, Office of Legal Counsel,
Re: Availability of Executive Privilege Where Congressional Committee Seeks Testimony of
Former White House Official on Advice Given President on Official Matters at 6 (Dec. 21,
1972) (“Cramton Memorandum”); Memorandum for John W. Dean III, Counsel to the President,
from Ralph E. Erickson, Assistant Attorney General, Office of Legal Counsel, Re: Appearance
of Presidential Assistant Peter M. Flanigan Before a Congressional Committee at 1 (Mar. 15,
1972) (“Erickson Memorandum”); Rehnquist Memorandum at 7.




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